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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 IN RE: BIT DIGITAL, INC. SECURITIES
 LITIGATION                                             Lead Case No. 1:21-cv-00515-ALC

         This document relates to:                      STIPULATION AND ORDER OF SETTLEMENT

         All Actions




         This Stipulation and Agreement of Class Action Settlement, dated October 12, 2022 (the

“Stipulation” or the “Settlement Agreement”), submitted pursuant to Rule 23 of the Federal

Rules of Civil Procedure (“Rules”) and Rule 408 of the Federal Rules of Evidence, embodies a

settlement (the “Settlement”) made and entered into by and among the following Settling Parties:

(i) Lead Plaintiff Joseph Franklin Monkam Nitcheu (“Lead Plaintiff”), on behalf of himself and

each of the members of the Class, as defined in ¶1.3, on the one hand and (ii) Defendants Bit

Digital, Inc, (“Bit Digital” or the “Company”) and Erke Huang (“Defendants”) (together Lead

Plaintiff and Defendants are referred to as the “Settling Parties”), on the other hand by and

through their counsel of record in the above-captioned litigation pending in the United States

District Court for the Southern District of New York (the “Litigation”).

         This stipulation is intended by the Settling Parties to fully, finally, and forever resolve,

discharge, and settle the Released Claims, as defined in ¶1.22, upon and subject to the terms and

conditions hereof and subject to the approval of the Court. Throughout this Stipulation, all

capitalized terms used, but not immediately defined, have the meanings given to them in ¶¶ 1.1 –

1.31.




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I.     THE LITIGATION

       This case is currently pending before the Honorable Andrew L. Carter in the United

States District Court for the Southern District of New York (the “Court”) and was filed on behalf

of a Class of all investors who purchased or otherwise acquired Bit Digital common stock

between December 21, 2020 and January 11, 2021, inclusive (the “Class Period”).

       The initial complaint was filed on January 20, 2021, alleging violations of § 10(b) and

20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5

promulgated thereunder. ECF No. 1. It was filed on behalf of a Class of all investors who

purchased or otherwise acquired Bit Digital common stock during the Class Period. Id.

       On April 29, 2021, the Court appointed Lead Plaintiff and the firm Block & Leviton LLP

as Lead Counsel. ECF No. 21.

       On July 6, 2021, Lead Plaintiff filed the Consolidated Class Action Complaint For

Violations of the Federal Securities Laws (The “Amended Complaint”), alleging violations of §§

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rule

10b-5 promulgated thereunder. ECF No.24.

       On October 29, 2021, Lead Plaintiff, Defendants, and the Court held a pre-motion

conference to discuss Defendants’ pending Motion to Dismiss and the possibility of pre-Motion

to Dismiss settlement discussions. ECF. No. 37.

       On December 10, 2021, Defendants moved to dismiss the Amended Complaint. ECF No.

40. Lead Plaintiff filed his opposition on December 10, 2021. ECF No. 43. Defendants filed their

reply on December 17, 2021. ECF No. 46.

       On August 12, 2022, the Settling Parties filed a joint Letter advising the Court that

Settling Parties had reached an agreement in principle to settle all claims in the Litigation. On

August 16, 2022 the Court issued an Order denying the Motion to Dismiss without prejudice and


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directing the Settling Parties to submit a joint status report regarding settlement progress on or

before September 13, 2022.

II.     CLAIMS OF LEAD PLAINTIFF AND BENEFITS OF THIS SETTLEMENT TO
        THE CLASS

        Lead Plaintiff believes that the claims asserted in the Litigation have merit. However,
Lead Plaintiff and Lead Counsel recognize and acknowledge the expense and length of
continued proceedings necessary to prosecute the Litigation against Defendants through trial.
Lead Plaintiff and Lead Counsel also have taken into account the uncertain outcome and risks in
connection with Defendants’ Motion to Dismiss the Amended Complaint, Defendants’
anticipated motions for summary judgment, and persuading a jury at trial, especially in complex
matters such as this Litigation, as well as the risks posed by post-trial motions, and potential
appeals from the determination of those motions, or a jury verdict. Lead Plaintiff and Lead
Counsel also are aware of the risks presented by the defenses to the securities law violations
asserted in the Litigation. Lead Plaintiff and Lead Counsel have also been advised by Defendants
that they carry no Directors and Officer’s liability insurance for the claims asserted under the
Amended Complaint, further complicating the potential of recovery for the Class. Lead Plaintiff
and Lead Counsel believe that the Settlement set forth in this Stipulation confers substantial
benefits upon the Class in light of the circumstances present here. Based on their evaluation,
Lead Plaintiff and Lead Counsel have determined that the Settlement set forth in this Stipulation
is in the best interests of Lead Plaintiff and the Class, and is fair, reasonable, and adequate.


III.    DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY

        Defendants have denied, and continue to deny, all allegations and claims asserted by

Plaintiff in the Litigation. As set forth in ¶ 9.3, this Stipulation does not constitute, and shall not

be offered or received against Defendants as evidence of, or construed as, or deemed to be

evidence of any concession or admission by Defendants with respect to the truth of any fact



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alleged or the validity of any claim in this Litigation. Defendants state that they are entering into

the Settlement solely to eliminate the burden, expense, and uncertainties of further litigation.

IV.     TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

Lead Plaintiff (for himself and the members of the Class), on the one hand, and Defendants, on

the other hand, by and through their respective counsel of record, that, subject to the approval of

the Court, pursuant to Rule 23(e), in consideration of the benefits flowing to the parties from the

Settlement set forth herein, the Released Claims shall be finally and fully compromised, settled,

and released, and the Litigation shall be dismissed with prejudice, as to all Settling Parties, upon

and subject to the terms and conditions of the Stipulation, as follows.

        1.      Definitions

        As used in this Stipulation, the following terms have the meanings specified below:

        1.1     “Authorized Claimant” means any member of the Class who submits a timely and

valid Proof of Claim and Release form and whose claim for recovery has been allowed pursuant

to the terms of the Stipulation.

        1.2     “Claims Administrator” means the firm of Kroll Settlement Administration.

        1.3     “Class” means all Persons who purchased Bit Digital common stock between

December 21, 2020 and January 11, 2021, inclusive (the “Class Period”). Excluded from the

Class are Defendants and their families, the officers, directors, and affiliates, and their legal

representatives, heirs, successors or assigns, and any entity in which Defendants have or had a

controlling interest.

        1.4     “Class Member” means a Person who falls within the definition of the Class as set

forth in ¶ 1.3 above.




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         1.5    “Class Period” means the period from December 21, 2020 and January 11, 2021,

inclusive.

         1.6    “Court” means the United States District Court for the Southern District of New

York.

         1.7    “Defendants” mean Bit Digital, Inc. and Erke Huang.

         1.8    “Effective Date” means the first date by which all of the events and conditions

specified in ¶ 8.1 of the Stipulation have been met and have occurred.

         1.9    “Escrow Account” means the account controlled by the Escrow Agent into which

the Settlement Amount shall be deposited by or on behalf of Defendants as described in ¶ 3.1

below.

         1.10   “Escrow Agent” means Huntington Bank, or its successor(s).

         1.11   “Fee and Expense Award” is defined in ¶ 7.2 below.

         1.12   “Final” means when the last of the following three events shall occur with respect

to the Judgment approving the Settlement, in the form of Exhibit B attached hereto: (i) the

expiration of the time to file a motion to alter or amend the Judgment under Rule 59(e) has

passed without any such motion having been filed; (ii) the expiration of the time in which to

appeal the Judgment has passed without any appeal having been taken, which date shall be

deemed to be thirty (30) days following the entry of the Judgment, unless the date to take such

an appeal shall have been extended by Court order or otherwise, or unless the 30th day falls on

a weekend or a Court holiday, in which case the date for purposes of this Stipulation shall be

deemed to be the next business day after such 30th day; and (iii) if a motion to alter or amend is

filed under Rule 59(e) or if an appeal is taken, immediately after the determination of that

motion or appeal so that it is no longer subject to any further judicial review or appeal




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whatsoever, whether by reason of affirmance by a court of last resort, lapse of time, voluntary

dismissal of the appeal or otherwise, and in such a manner as to permit the consummation of the

Settlement substantially in accordance with the terms and conditions of this Stipulation. For

purposes of this paragraph, an “appeal” shall include any petition for a writ of certiorari or other

writ that may be filed in connection with approval or disapproval of this Settlement, but shall

not include any appeal that concerns only the issue of attorneys’ fees and expenses or any Plan

of Allocation of the Settlement Fund.

       1.13       “Judgment” means the judgment and order of dismissal with prejudice to be

rendered by the Court upon approval of the Settlement, substantially in the form attached hereto

as Exhibit B, or such other substantially similar form agreed to by the Settling Parties.

       1.14       “Lead Counsel” means Block & Leviton LLP.

       1.15       “Lead Plaintiff” means Joseph Franklin Monkam Nitcheu.

       1.16       “Net Settlement Fund” means the Settlement Fund less: (i) the amount of the Fee

and Expense Award and any award to Lead Plaintiff as allowed under the PSLRA, if and to the

extent allowed by the Court; (ii) Notice and Administration Expenses; (iii) Taxes and Tax

Expenses; and (iv) any other fees or expenses approved by the Court.

        1.17      “Notice” means the Notice of Pendency and Proposed Settlement of Class

Action, which, subject to approval of the Court, shall be substantially in the form attached hereto

as Exhibit A-2.

       1.18       “Notice and Administration Expenses” means the fees and expenses reasonably

and actually incurred in connection with providing notice, locating Class Members, assisting

with the filing of claims, administering and distributing the Net Settlement Fund to Authorized

Claimants, processing claim forms, and paying escrow fees and costs, if any.




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       1.19     “Notice Order” is defined in ¶ 2.1 below.

       1.20     “Person” means a natural person, individual, corporation, partnership, limited

partnership, association, joint stock company, estate, legal representative, trust, unincorporated

association, government or any political subdivision or agency thereof, and any business or legal

entity and his, her or its spouses, heirs, predecessors, successors, representatives, or assignees.

       1.21    “Plan of Allocation” means a plan or formula of allocation of the Net Settlement

Fund whereby the Net Settlement Fund shall be distributed to Authorized Claimants. Any Plan

of Allocation is not part of the Stipulation and the Released Defendant Parties shall have no

responsibility or liability with respect to the Plan of Allocation.

       1.22    “Postcard Notice” means the postcard to be sent to potential member of the class

by the Claims Administrator, informing them of the Settlement, directing them to the settlement

website, and providing a number to call to obtain a copy of the Notice and Claim Form,

substantially in the form of Exhibit A-1.

       1.23     “Released Claims” means any and all claims and causes of action of every nature

and description whatsoever, including Unknown Claims as defined in ¶ 1.32 hereof, as against

the Released Defendant Parties that have been or could have been asserted in this or any other

action that (a) were asserted in the action; or (b) could have been asserted in this or any other

forum that arise out of, are based upon, or relate in any way to any of the allegations, acts,

transactions, facts, events, matters, occurrences, representations or omissions involved, set forth,

alleged, or referred to in this action, or which could have been alleged in this action, and that

relate to the purchase of Bit Digital common stock during the Class Period; or (c) could have

been asserted in any forum that arise out of or relate in any way to the defense or settlement of

the claims asserted in the Action, whether arising under federal, state, local, common, statutory,




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administrative, or foreign law, or any other law, rule, or regulation, at law or in equity, whether

fixed or contingent, whether foreseen or unforeseen, whether accrued or unaccrued, whether

liquidated or unliquidated, whether matured or unmatured, whether direct, representative, class,

or individual in nature. Released Claims shall not include any claims relating to the enforcement

of the Settlement.

       1.24     “Released Defendant Claims” means upon the Effective Date, Defendants will

release as against Released Plaintiff Parties (as defined below), all claims and causes of action of

every nature and description, whether known or Unknown Claims, whether arising under federal,

state, local, common, statutory, administrative, or foreign law, or any other law, rule, or

regulation, at law or in equity, whether fixed or contingent, whether foreseen or unforeseen,

whether accrued or unaccrued, whether liquidated or unliquidated, whether matured or

unmatured, whether direct, representative, class, or individual in nature that arise out of or relate

in any way to the institution, prosecution, or settlement of the claims against Defendants.

Released Defendant Claims shall not include any claims relating to the enforcement of the

Settlement.

       1.25     “Released Defendant Parties” means: (i) Defendants; and (ii) each of their

respective family members, and their respective general partners, limited partners, principals,

shareholders, joint venturers, members, officers, directors, managers, managing directors,

supervisors, employees, contractors, consultants, auditors, accountants, financial advisors,

professional advisors, investment bankers, underwriters, representatives, insurers, trustees,

trustors, agents, attorneys, professionals, predecessors, successors, assigns, heirs, executors,

administrators, and any controlling person thereof in their capacities as such.




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         1.26   “Released Plaintiff Parties” means: (i) Lead Plaintiff and other Class Members;

and (ii) each of their respective family members, and their respective general partners, limited

partners, principals, shareholders, joint venturers, members, officers, directors, managers,

managing directors, supervisors, employees, contractors, consultants, auditors, accountants,

financial advisors, professional advisors, investment bankers, representatives, insurers, trustees,

trustors, agents, attorneys, including Lead Counsel, professionals, predecessors, successors,

assigns, heirs, executors, administrators, and any controlling person thereof, in their capacities as

such.

         1.27   “Related Persons” means each and any of the Settling Parties and any and all of

their past, present, or future agents, officers, directors, employees, attorneys, accountants,

auditors, advisors, insurers, co-insurers, reinsurers, co-insurers, reinsurers, spouses, immediate

family members, heirs beneficiaries, executors, personal and legal representatives, estates,

administrators, trusts, trustees, partnerships and partners, predecessors, successors, parents,

subsidiaries, divisions, affiliates, and assigns or other individual or entity in which any Settling

Party has a controlling interest, and each and all of their respective past, present, or future

agents, officers, directors, employees, attorneys, accountants, auditors, advisors, insurers, co-

insurers, re-insurers, spouses, immediate family members, heirs, beneficiaries, executors,

personal and legal representatives, estates, administrators, trusts, trustees, partnerships and

partners, predecessors, successors, parents, subsidiaries, divisions, affiliates, and assigns.

         1.28   “Settlement Amount” means Two Million One Hundred Thousand U.S. Dollars

($2,100,000.00).

         1.29   “Settlement Fund” means the Settlement Amount, together with all interest and

income earned thereon after being transferred to the Escrow Account.




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        1.30    “Settlement Hearing” is defined in ¶ 4.1 below.

        1.31    “Settling Parties” means, collectively, Lead Plaintiff on behalf of himself and the

Class Members, and Defendants.

        1.32    “Summary Notice” means the Summary Notice, which, subject to approval of the

Court, shall be substantially in the form attached hereto as Exhibit A-3.

        1.33    “Unknown Claims” means any Released Claim(s) that any Releasing Party or any

of their Related Persons do not know of or suspect to exist in his, her, or its favor at the time

of the release, which , if known by him, her, or it, might have affected his, her, or its decision to

settle or release claims. With respect to any and all Released Claims, the Settling Parties

stipulate and agree that, upon the Effective Date, the Releasing Parties and their Related

Persons shall expressly waive and relinquish to the fullest extent permitted by law, the

provisions, rights and benefits conferred by and under California Civil Code § 1542, and any

other law of the United States or any state or territory of the United States, or principle of

common law, which is similar, comparable or equivalent to California Civil Code § 1542,

which provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
        EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR OR RELEASED PARTY.

        The Releasing Parties acknowledge that they may hereafter discover facts in addition to or

different from those now known or believed to be true by them, with respect to the subject matter

of the Released Claims, but it is the intention of the Settling Parties that the Releasing

Parties, their Related Persons, shall be deemed to and by operation of the Final Order and

Judgment shall completely, fully, finally, and forever compromise, settle, release,



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discharge, and extinguish any and all Released Claims, known or unknown, suspected or

unsuspected, contingent or absolute, accrued or unaccrued, apparent or unapparent, which do

now exist, or heretofore existed, or may hereafter exist, upon any theory of law or equity now

existing or coming into existence in the future, and without regard to the subsequent discovery

of additional or different facts. The Settling Parties acknowledge that the foregoing waiver was

separately bargained for and is a key element of the Stipulation of which this release is a part.

       2.      CAFA Notice

       2.1      Defendants shall determine the form of notice to be provided for the purpose of

satisfying the requirements of the Class Action Fairness Act (“CAFA Notice”), 28 U.S.C. §

1715, and the identity of those who will receive the CAFA Notice. Pursuant to CAFA, no later

than ten (10) calendar days after the Settlement Agreement is filed with the Court, Defendants, at

their own cost, shall serve proper notice of the proposed Settlement upon those who are entitled

to such notice pursuant to CAFA.

       3.      The Settlement

               a.      The Settlement Fund

       3.1     Defendants shall pay $2,100,000.00 (the Settlement Amount) cash into the

Escrow Account controlled by the Escrow Agent (subject to Court oversight), within fourteen

(14) calendar days from the later of: (a) entry of the Court’s order preliminarily approving the

Settlement; or (b) the date on which the Escrow Agent provides to Defendants: (i) specific bank

identification and wiring information (including the physical address of the bank) necessary to

wire the Settlement Amount to the Escrow Account, (ii) instructions for the payee and address to

which a physical check can be mailed, and (iii) a completed and signed Form W-9 reflecting the

tax identification number of the payee.




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         3.2    Lead Plaintiff shall have the right, but not the obligation, to terminate the

Settlement twenty (20) calendar days after any failure of the Defendants to timely pay the

Settlement Amount in accordance with ¶ 3.1 above.

         3.3    The payment described in ¶ 3.1 above is the only payment to be made by or on

behalf of Defendants in connection with this Settlement.

                b.      The Escrow Agent

         3.4    The Escrow Agent shall invest the Settlement Amount deposited pursuant to ¶ 3.1

hereof in instruments backed by the full faith and credit of the United States Government or fully

insured by the United States Government or an agency thereof and shall reinvest the proceeds of

these instruments as they mature in similar instruments at their then-current market rates. All

costs and risks related to the investment of the Settlement Fund in accordance with the guidelines

set forth in this paragraph shall be borne by the Settlement Fund.

         3.5    The Escrow Agent shall not disburse the Settlement Fund except: (a) as provided

in the Stipulation; (b) by an order of the Court; or (c) with the written agreement of counsel for

the Settling Parties.

         3.6    Subject to further order(s) and/or directions as may be made by the Court, or as

provided in the Stipulation, the Escrow Agent is authorized to execute such transactions as are

consistent with the terms of the Stipulation. The Released Defendant Parties shall have no

responsibility for, interest in, or liability whatsoever with respect to, the actions of the Escrow

Agent, or any transaction executed by the Escrow Agent.

         3.7    All funds held by the Escrow Agent shall be deemed and considered to be in

custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until such

time as such funds shall be distributed pursuant to the Stipulation and/or further order(s) of the

Court.


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       3.8     Prior to the Effective Date, Lead Counsel, without further approval of Defendants

or the Court, may pay from the Settlement Fund up to $175,000 in Notice and Administration

Expenses. Prior to the Effective Date, payment of any Notice and Administration Expenses

exceeding $175,000 shall require notice to, and agreement from, the Defendants, through

Defendants’ counsel, which agreement shall not be unreasonably refused. Subsequent to the

Effective Date, without further approval by Defendants or the Court, the Settlement Fund may be

used by Lead Counsel to pay all reasonable and necessary Notice and Administration Expenses.

               c.      Taxes

       3.9     The Settling Parties agree to treat the Settlement Fund as being at all times a

“Qualified Settlement Fund” within the meaning of Treasury Regulation § 1.468B-1. In

addition, the Escrow Agent shall timely make such elections as necessary or advisable to carry

out the provisions of this ¶ 3.9, including the “relation-back election” (as defined in Treasury

Regulation § 1.468B-1) back to the earliest permitted date. Such elections shall be made in

compliance with the procedures and requirements contained in such regulations. It shall be the

responsibility of the Escrow Agent to timely and properly prepare and deliver, or cause to be

prepared and delivered, the necessary documentation for signature by all necessary parties, and

thereafter to cause the appropriate filing to occur.

       3.10    For the purpose of § 468B of the Internal Revenue Code of 1986, as amended,

and the regulations promulgated thereunder, the “administrator” shall be the Escrow Agent. The

Escrow Agent shall timely and properly file, or cause to be filed, all informational and other tax

returns necessary or advisable with respect to the Settlement Fund (including, without limitation,

the returns described in Treasury Regulation § 1.468B-2(k)). Such returns (as well as the

election described in ¶¶ 3.9 – 3.12 hereof shall be consistent with this ¶¶ 3.9 – 3.12 and in all

events shall reflect that all Taxes (including any estimated Taxes, interest, or penalties) on the


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income earned on the Settlement Amount shall be paid out of the Settlement Fund as provided in

¶¶ 3.9 – 3.12 hereof.

       3.11    All (a) Taxes (including any estimated Taxes, interest, or penalties) arising with

respect to the income earned on the Settlement Amount, including any Taxes or tax detriments

that may be imposed upon the Released Defendant Parties or their counsel with respect to any

income earned on the Settlement Amount for any period during which the Settlement Amount

does not qualify as a “Qualified Settlement Fund” for federal or state income tax purposes

(“Taxes”), and (b) expenses and costs incurred in connection with the operation and

implementation of this ¶¶ 3.9 – 3.12 (including, without limitation, expenses of tax attorneys

and/or accountants and mailing and distribution costs and expenses relating to filing (or failing to

file) the returns described in this ¶¶ 3.9 – 3.12) (“Tax Expenses”), shall be paid out of the

Settlement Fund; in all events the Released Defendant Parties and their counsel shall have no

liability or responsibility for the Taxes or the Tax Expenses. Further, Taxes and Tax Expenses

shall be treated as, and considered to be, a cost of administration of the Settlement Fund and

shall be timely paid by the Escrow Agent out of the Escrow Account without prior order from

the Court or approval of Defendants, and the Escrow Agent shall be obligated (notwithstanding

anything herein to the contrary) to withhold from distribution to Authorized Claimants any funds

necessary to pay such amounts, including the establishment of adequate reserves for any Taxes

and Tax Expenses (as well as any amounts that may be required to be withheld under Treasury

Regulation § 1.468B-2(l)(2)); neither the Released Defendant Parties nor their counsel are

responsible nor shall they have any liability therefor. The Settling Parties hereto agree to

cooperate with the Escrow Agent, each other, and their tax attorneys and accountants to the

extent reasonably necessary to carry out the provisions of this ¶¶ 3.9 – 312.




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       3.12    Except as required by ¶ 3.1 concerning payment of the Settlement Amount, the

Released Defendant Parties are not responsible for Taxes, Tax Expenses, Notice and

Administration Expenses, nor shall they be liable for any claims with respect thereto.

               d.      Termination of Settlement

       3.13    In the event the Settlement: (i) is not approved; (ii) is terminated, canceled, or

fails to become effective for any reason, including, without limitation, in the event the Judgment

is reversed or vacated following any appeal taken therefrom; or (iii) is successfully collaterally

attacked, the Settlement Fund (including accrued interest) less expenses actually incurred or due

and owing for Notice and Administration Expenses, Taxes or Tax Expenses, pursuant to ¶¶ 3.9 –

3.12, respectively, shall be refunded to such Persons that paid the Settlement Amount pursuant to

written instructions from Defendants’ counsel.

       4.      Notice Order and Settlement Hearing

       4.1     Promptly after execution of this Stipulation, Lead Counsel shall submit the

Stipulation together with its exhibits (the “Exhibits”) to the Court and shall apply for entry of an

order (the “Notice Order”), in the form of Exhibit A attached hereto, requesting, inter alia, the

preliminary approval of the Settlement set forth in the Stipulation and approval of the mailing of

the Postcard Notice, and publication of the Notice and Summary Notice, in the forms of Exhibits

A-1 to A-4 attached hereto. The Notice shall include the general terms of the Settlement set

forth in the Stipulation, the proposed Plan of Allocation, the general terms of the application for

the Fee and Expense Award, and the date of the Settlement Hearing (defined in ¶ 4.3 below).

       4.2     It shall be the Claims Administrator’s responsibility, under supervision of Lead

Counsel, to disseminate the Postcard Notice, Notice, and Summary Notice to the Class in

accordance with this Stipulation and as ordered by the Court. Class Members shall have no




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recourse as to the Released Defendant Parties with respect to any claims they may have that arise

from any failure of the notice process.

       4.3     Lead Counsel shall request that after notice is given to the Class, the Court hold a

hearing (the “Settlement Hearing”) and approve the Settlement of the Litigation as set forth

herein. At or after the Settlement Hearing, Lead Counsel also shall request that the Court

approve the proposed Plan of Allocation and the Fee and Expense Award.

       5.      Releases

       5.1     Upon the Effective Date, Lead Plaintiff and each of the Class Members shall be

deemed to have, and by operation of the Judgment shall have, fully, finally, and forever released,

relinquished, and discharged against the Released Defendant Parties (whether or not such Class

Member executes and delivers a Proof of Claim and Release form) any and all Released Claims

(including, without limitation, Unknown Claims). Claims to enforce the terms of this Stipulation

are not released. The Settling Parties acknowledge, and the Class Members shall be deemed by

operation of law to acknowledge, that the waiver of Unknown Claims, and of the provisions,

rights and benefits of § 1542 of the California Civil Code, was bargained for and is a key

element of the Settlement of which the release in this paragraph is a part.

       5.2     Upon the Effective Date, Lead Plaintiff and each of the Class Members and

anyone claiming through or on behalf of them, shall be permanently barred and enjoined from

the commencement, assertion, institution, maintenance, prosecution, or enforcement against any

Released Defendant Parties of any action or other proceeding in any court of law or equity,

arbitration tribunal, administrative forum, or forum of any kind, asserting any of the Released

Claims.




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       5.3     The Proof of Claim and Release to be executed by Class Members shall release all

Released Claims against the Released Defendant Parties and shall be substantially in the form

contained in Exhibit A-4 attached hereto.

       5.4     Upon the Effective Date, Defendants will release as against Released Plaintiff

Parties, all claims and causes of action of every nature and description, whether known or

Unknown Claims, whether arising under federal, state, local, common, statutory, administrative,

or foreign law, or any other law, rule, or regulation, at law or in equity, whether fixed or

contingent, whether foreseen or unforeseen, whether accrued or unaccrued, whether liquidated or

unliquidated, whether matured or unmatured, whether direct, representative, class, or individual

in nature that arise out of or relate in any way to the institution, prosecution, or settlement of the

claims against Defendants. Claims to enforce the terms of this Stipulation are not released.

       6.      Administration and Calculation of Claims, Final Awards, and Supervision
               and Distribution of the Settlement Fund

       6.1     The Claims Administrator, subject to such supervision and direction of the Court

or Lead Counsel as may be necessary or as circumstances may require, shall provide notice of

the Settlement to the Class, shall administer and calculate the claims submitted by Class

Members, and shall oversee distribution of the Net Settlement Fund to Authorized Claimants.

       6.2     Within fourteen (14) calendar days after execution of this Stipulation, Bit Digital

shall provide or cause to be provided to the Claims Administrator with a list of names and

addresses of record holders of Bit Digital common stock during the Class Period on the transfer

agent’s books. This information shall be provided in an electronic format acceptable to the

Claims Administrator. Bit Digital shall be responsible for any costs or expenses related to

providing this information.




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       6.3     In accordance with the schedule set forth in the Notice Order, Lead Counsel will

cause the Claims Administrator to mail to all shareholders of record, identified on the list

provided by Bit Digital to the Claims Administrator, the Postcard Notice, substantially in the

form of Exhibit A-1 attached hereto. The Postcard Notice shall direct potential class members to

the settlement website where the Notice and Claim Form will be available, and shall also provide

a toll-free phone number that can be called to receive a written copy of the Notice at no cost to

the class member. The Notice shall set forth the terms of the Stipulation, including the proposed

Plan of Allocation and Lead Counsel’s request for attorneys’ fees and expenses; the date and

time of the Settlement Hearing; the right to object to the Settlement, proposed Plan of Allocation,

or request for fees and expenses; the right to appear at the Settlement Hearing; and the right to

request exclusion from the Class. In accordance with the schedule set forth in the Notice Order,

the Summary Notice, substantially in the form of Exhibit A-3 attached hereto, will also be

published once over a national newswire service. The cost of providing such notice shall be paid

out of the Settlement Fund.

       6.4     The Settlement Fund shall be applied as follows:

               (a)     To pay all Notice and Administration Expenses;

               (b)     To pay the Taxes and Tax Expenses described in ¶¶ 3.9 – 3.12 hereof;

               (c)     To pay the Fee and Expense Award;

               (d)     To pay any award to Lead Plaintiff as allowed under the PSLRA, subject

to the approval of the Court; and

               (e)     After the Effective Date, to distribute the Net Settlement Fund to the

Authorized Claimants as allowed by the Stipulation, the Plan of Allocation, or the Court.




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       6.5     Upon the Effective Date and thereafter, and in accordance with the terms of the

Stipulation, the Plan of Allocation, or such further approval and further order(s) of the Court as

may be necessary or as circumstances may require, the Net Settlement Fund shall be distributed

to Authorized Claimants, subject to and in accordance with the following.

       6.6     Each Person claiming to be an Authorized Claimant shall be required to submit to

the Claims Administrator a completed Proof of Claim and Release, substantially in the form of

Exhibit A-4 attached hereto, postmarked or submitted electronically by no later than ninety (90)

calendar days after the Notice Date (as defined in Exhibit A-2 attached hereto), or such other

time as the Court may set, signed under penalty of perjury and supported by such documents as

are specified in the Proof of Claim and Release.

       6.7     Except as otherwise ordered by the Court, all Class Members who fail to submit a

Proof of Claim and Release by such date, or who submit a Proof of Claim and Release that is

rejected, shall be forever barred from receiving any payments pursuant to the Stipulation and the

Settlement set forth herein, but will in all other respects be subject to and bound by the

provisions of the Stipulation, the releases contained herein, and the Judgment. Notwithstanding

the foregoing, Lead Counsel shall have the discretion (but not the obligation) to accept late-

submitted claims for processing by the Claims Administrator, so long as the distribution of the

Net Settlement Fund to Authorized Claimants is not materially delayed thereby. No person shall

have any claim against Lead Plaintiff, Lead Counsel, or the Claims Administrator by reason of

the decision to exercise or not exercise such discretion.

       6.8     The Claims Administrator shall calculate the claims of Authorized Claimants

substantially in accordance with the Plan of Allocation set forth in the Notice and approved by




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the Court. Following the Effective Date, the Claims Administrator shall send to each Authorized

Claimant his, her, or its pro rata share of the Net Settlement Fund.

       6.9     Other than in the event of the termination of the Settlement pursuant to ¶ 8.4,

Defendants shall not have a reversionary interest in the Net Settlement Fund. If there is any

balance remaining in the Net Settlement Fund after a reasonable period of time after the initial

date of distribution of the Net Settlement Fund, Lead Counsel shall, if feasible, allocate such

balance among Authorized Claimants in an equitable and economic fashion. These

redistributions shall be repeated until the balance remaining in the Net Settlement Fund is de

minimis and such remaining balance shall then be donated to The Legal Aid Society of New

York (TIN XX-XXXXXXX).

       6.10    The Released Defendant Parties shall have no responsibility for, interest in, or

liability whatsoever with respect to the distribution of the Net Settlement Fund, the Plan of

Allocation, the determination, administration, or calculation of claims, the payment or

withholding of Taxes, or any losses incurred in connection therewith.

       6.11    Defendants shall take no position with respect to the Plan of Allocation or any

other such plan as may be approved by the Court. Defendants will have no involvement in

reviewing or challenging claims.

       6.12    It is understood and agreed by the Settling Parties that any proposed Plan of

Allocation of the Net Settlement Fund, including, but not limited to, any adjustments to an

Authorized Claimant’s claim set forth therein, is not a part of the Stipulation and is to be

considered by the Court separately from the Court’s consideration of the fairness,

reasonableness, and adequacy of the Settlement set forth in the Stipulation, and any order or

proceeding relating to the Plan of Allocation shall not operate to terminate or cancel the




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Stipulation or affect the finality of the Court’s Judgment approving the Stipulation and the

Settlement set forth therein, or any other orders entered pursuant to the Stipulation. Class

Members and Defendants shall be bound by the terms of this Stipulation, irrespective of whether

the Court disapproves or modifies the Plan of Allocation.

       6.13    No Person shall have any claim against Lead Plaintiff, Lead Counsel, Released

Defendant Parties, Defendants’ counsel, or the Claims Administrator based on distributions

made substantially in accordance with the Stipulation and the Settlement contained herein, the

Plan of Allocation, or otherwise as further ordered by the Court. This does not include any claim

by any party for breach of this Stipulation.

       7.      Lead Counsel’s Attorneys’ Fees and Expenses

       7.1     Lead Counsel may submit an application or applications to the Court (the “Fee

and Expense Application”) for distributions from the Settlement Fund for: (a) an award of

attorneys’ fees; plus (b) expenses or charges in connection with prosecuting the Litigation; plus

(c) interest on both amounts as earned by the Settlement Fund (until paid) as may be awarded by

the Court. Any and all such fees, expenses and charges awarded by the Court (the “Fee and

Expense Award”) shall be payable solely out of the Settlement Fund. Lead Plaintiff may submit

an application for an award under the PSLRA based on its representation of the Class. Any such

amounts awarded to Lead Plaintiff shall be paid from the Settlement Fund.

       7.2     The Fee and Expense Award shall be paid to Lead Counsel from the Settlement

Fund, as ordered, immediately upon entry of an order by the Court granting such award. In the

event that the Effective Date does not occur, or the order making the Fee and Expense Award

pursuant to ¶ 7.1 is reversed or modified by final non-appealable order, or if this Stipulation is

cancelled or terminated for any reason, and in the event any part of the Fee and Expense Award

has been paid, then Lead Counsel shall, in an amount consistent with such reversal, modification,


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cancellation or termination, refund such fees or expenses to the Settlement Fund, plus interest

earned thereon at the same rate as earned on the Settlement Fund, within thirty (30) calendar

days from receiving notice from Defendants’ counsel or from a court of competent jurisdiction.

       7.3     The procedure for and the allowance or disallowance by the Court of the Fee and

Expense Award, or the award to the Lead Plaintiff, to be paid out of the Settlement Fund, are not

part of the Settlement, and any order or proceeding relating to the Fee and Expense Application,

or an award to Lead Plaintiff, or any appeal from any order relating thereto or reversal or

modification thereof, shall not operate to terminate or cancel the Settlement, or affect or delay

the finality of the Judgment approving the Stipulation and the Settlement of the Litigation

(including the releases contained herein).

       7.4     Neither the Released Defendant Parties nor Defendants’ insurers shall have any

responsibility for or liability with respect to the payment of any Fee and Expense Award to Lead

Counsel and/or any other Person who may assert some claim thereto, of any Fee and Expense

Award that the Court may make in the Litigation.

       8.      Conditions of Settlement, Effect of Disapproval, Cancellation, or
               Termination

       8.1     The Effective Date of the Stipulation shall be conditioned on the occurrence of all

of the following events:

               (a)     execution of this Stipulation and such other documents as may be required

to obtain final Court approval of the Stipulation in a form satisfactory to the Settling Parties;

               (b)     the Settlement Amount has been deposited into the Escrow Account as

provided by ¶ 3.1 hereof;

               (c)     the Court has entered the Notice Order, as required by ¶ 4.1 hereof:




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               (d)     the Court has entered the Judgment that, inter alia, dismisses with

prejudice the Litigation, as to the Settling Parties, as set forth above; and

               (e)     the Judgment has become Final, as defined in ¶ 1.12 hereof.

       8.2     This is not a claims-made settlement. As of the Effective Date, Defendants and/or

any other such persons or entities funding the Settlement on the Defendants’ behalf, shall not

have any right to the return of the Settlement Fund or any portion thereof for any reason. Upon

the occurrence of all the events referenced in ¶ 8.1 hereof, any and all remaining interest or right

of Defendants, if any, in or to the Settlement Fund shall be absolutely and forever extinguished.

If all the conditions specified in ¶ 8.1 hereof are not met, then the Stipulation shall be canceled

and terminated subject to ¶ 8.3 hereof unless Lead Counsel and counsel for Defendants mutually

agree in writing to proceed with the Settlement.

       8.3     Unless otherwise ordered by the Court, in the event the Stipulation shall

terminate, or be canceled, or shall not become effective for any reason, within five (5) business

days after written notification of such event is sent by counsel for Defendants or Lead Counsel to

the Escrow Agent, the Settlement Fund, less Notice and Administration Expenses, Taxes, and

Tax Expenses reasonably and actually incurred pursuant to ¶¶ 3.8 – 3.12 hereof, shall be

refunded pursuant to written instructions from Defendants’ counsel. At the request of counsel

for Defendants, the Escrow Agent or its designee shall apply for any tax refund owed on the

Settlement Fund and pay the proceeds, after deduction of any expenses incurred in connection

with such application(s) for refund, at the written direction of Defendants’ counsel.

       8.4     In the event that the Stipulation is not approved by the Court or the Settlement set

forth in the Stipulation is terminated or fails to become effective in accordance with its terms, the

Settling Parties shall not forfeit or waive any factual or legal defense or contention in the




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Litigation and shall be restored to their respective positions in the Litigation as of August 12,

2022. In such event, the terms and provisions of the Stipulation, with the exception of ¶¶ 1.1-

1.34, 3.8-3.13, 7.2, 8.3-8.4, 9.2, 9.4, and 9.5 hereof, shall have no further force and effect with

respect to the Settling Parties and shall not be used in this Litigation or in any other proceeding

for any purpose, and any judgment or order entered by the Court in accordance with the terms of

the Stipulation shall be treated as vacated, nunc pro tunc, and the Settling Parties shall be

deemed to return to their status as of August 12, 2022, and shall be required to present an

amended pre-trial schedule to the Court. No order of the Court or modification or reversal on

appeal of any such order of the Court concerning the Plan of Allocation or the amount of any

attorneys’ fees and expenses, and interest awarded by the Court to Lead Counsel, shall constitute

grounds for cancellation or termination of the Stipulation.

       8.5     In the event of a final order of a court of competent jurisdiction, not subject to any

further proceedings, determining the transfer of the Settlement Fund, or any portion thereof, by

or on behalf of any Defendant to be a preference, voidable transfer, fraudulent transfer or similar

transaction under Title 11 of the United States Code (Bankruptcy) or applicable state law and

any portion thereof is required to be refunded and such amount is not promptly deposited in the

Settlement Fund by or on behalf of any other Defendant, then, at the election of Lead Counsel, as

to the Defendant as to whom such order applies, the Settlement may be terminated and the

releases given and the judgment entered in favor of such Defendant pursuant to the Settlement

shall be null and void. In such instance, the releases given and the judgement entered in favor of

other Defendants shall remain in full force and effect. Alternatively, Lead Counsel may elect to

terminate the entire Settlement as to all Defendants and all the releases given and the judgments




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entered in favor of the Defendants pursuant to the Settlement shall be null and void, and Lead

Plaintiff may proceed as if the Settlement was never entered into.

       9.      Miscellaneous Provisions

       9.1     The Settling Parties: (a) acknowledge that it is their intent to consummate this

Settlement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and

implement all terms and conditions of the Stipulation and to exercise their best efforts to

accomplish the foregoing terms and conditions of the Stipulation expeditiously.

       9.2     The Settlement will not be conditioned upon the obtaining of or any judicial

approval of any releases between or among Defendants or third parties.

       9.3     The Settling Parties intend this Settlement to be a final and complete resolution of

all disputes between them with respect to the Litigation. The Settlement and all negotiations,

discussions, and proceedings leading up to and in connection herewith shall not be deemed to

constitute a presumption, concession, or an admission by any Settling Party or any of the

Released Defendant Parties of any fault, liability, or wrongdoing by it, or as to the merits of any

claim or defense.

       9.4     The Settling Parties and their counsel mutually agree that, throughout the course

of this Litigation, all parties and their counsel complied with the provisions of Rule 11 relating to

the prosecution, defense or settlement of the Litigation, and the Judgment shall contain a finding

that all Settling Parties and their counsel complied with the requirements of Rule 11 with respect

to the institution, prosecution, defense, and resolution of the Litigation. The Settling Parties

agree that the Settlement Amount and the other terms of the Settlement were negotiated in good

faith at arm’s length by the Settling Parties and reflect a settlement that was reached voluntarily

after consultation with competent legal counsel.




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        9.5     All agreements made and orders entered during the course of the Litigation

relating to the confidentiality of documents and information shall survive this Stipulation,

pursuant to its terms.

        9.6     The Settling Parties shall, in good faith, endeavor to communicate the terms of the

Settlement, if at all, in a manner that is respectful of the fact that no final adjudication of fault

was determined by a court or a jury. The Settling Parties agree that, unless required by law, no

press release or other written public statements purporting to characterize the Settlement may be

made without the approval of counsel for all parties, which approval shall not unreasonably be

withheld. A party intending to issue a press release or other written public statement purporting

to characterize the Settlement shall provide a draft of the statement to counsel for the other

parties at least 24 hours in advance of such statement. For the avoidance of doubt, nothing in

this paragraph shall be construed as prohibiting, or placing restrictions on, the public disclosure

of the fact of, terms of, or Court-approved notice of the Settlement, including on Plaintiffs’

counsel’s firm websites.

        9.7     All of the Exhibits to the Stipulation are material and integral parts hereof and are

fully incorporated herein by this reference. In the event that there exists a conflict or

inconsistency between the terms of this Stipulation and the terms of any exhibit hereto, the

terms of this Stipulation shall prevail.

        9.8     This Stipulation shall not be construed more strictly against one party than

another merely by virtue of the fact that it, or any part of it, may have been prepared by counsel

for one of the parties, it being recognized that it is the result of arm’s-length negotiations

between the parties and that all parties have contributed substantially and materially to the

preparation of this Stipulation.




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       9.9     The Stipulation may be amended or modified only by a written instrument signed

by or on behalf of all Settling Parties or their respective successors-in-interest.

       9.10    No waiver of any term or provision of this Settlement Agreement, or of any

breach or default hereof or hereunder, shall be valid or effective unless in writing and signed by

or on behalf of all Settling Parties or their respective successors-in-interest. No waiver of any

term or provision of this Settlement Agreement, or of any breach or default hereof or hereunder,

shall be construed as a waiver of the same or any other term or provision or of any previous or

subsequent breach thereof.

       9.11    The Stipulation and the Exhibits attached hereto constitute the entire agreement

among the Settling Parties and no representations, warranties, or inducements have been made to

any Settling Party concerning the Stipulation or its Exhibits other than the representations,

warranties, and covenants contained and memorialized in such documents.

       9.12     Except as otherwise provided herein, each Settling Party shall bear its own costs.

       9.13    This Settlement Agreement shall be construed and interpreted to effectuate the

intent of the Settling Parties, which is to resolve completely those claims and disputes, including

in the Litigation, and as more fully described herein. If any provision of this Settlement

Agreement shall be determined to be invalid, void, or illegal, such provision shall be construed

and amended in a manner that would permit its enforcement, but in no event shall such provision

affect, impair, or invalidate any other provision hereof.

       9.14    Neither the Class Members nor Defendants shall be bound by the Stipulation if

the Court modifies material terms thereof, provided, however, that it shall not be a basis for

Class Members to terminate the Settlement if the Court modifies any proposed Plan of

Allocation or criteria for allocation of the Net Settlement Fund amongst Class Members, or the




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Plan of Allocation is modified on appeal. Nor shall it be a basis to terminate the Stipulation if

the Court disapproves of or modifies the terms of this Stipulation with respect to attorney’s fees

or expenses or the distribution of the Net Settlement Fund. Notwithstanding any such

modification of the terms or Plan of Allocation or the Stipulation with respect to attorneys’ fees

or expenses, Defendants and Defendants’ insurers shall be entitled to all benefits of the

Settlement and shall not, under any circumstances, be called upon to contribute additional funds

to the Settlement Amount.

       9.15    Lead Counsel, on behalf of the Class, is expressly authorized by Lead Plaintiff to

take all appropriate action required or permitted to be taken by the Class pursuant to the

Stipulation to effectuate its terms and also is expressly authorized to enter into any modifications

or amendments to the Stipulation on behalf of the Class which it deems appropriate.

       9.16    Each counsel or other Person executing the Stipulation or any of its Exhibits on

behalf of any Settling Party hereby warrants that such Person has the full authority to do so.

       9.17    All notices, requests, demands, claims, and other communications hereunder shall

be in writing and shall be deemed duly given: (i) when delivered personally to the recipient; (ii)

one (1) business day after being sent to the recipient by reputable overnight courier service

(charges prepaid); or (iii) five (5) business days after being mailed to the recipient by certified or

registered mail, return receipt requested and postage prepaid, and addressed to the intended

recipient as set forth below:

       If to Lead Plaintiff or to Lead Counsel:
       Jacob A. Walker
       BLOCK & LEVITON LLP
       260 Franklin Street, Suite 1860
       Boston, MA 02110

       If to Defendants or to Defendants’ Counsel:
       Stuart Kagen



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       KAGEN, CASPERSEN, & BOGART PLLC
       757 3rd Avenue, 20th Floor
       New York, NY, 10017

       9.18    The Stipulation may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete

set of executed counterparts shall be filed with the Court. Signatures sent by facsimile or by

PDF via e-mail shall be deemed originals.

       9.19    The Stipulation shall be binding upon, and inure to the benefit of, the heirs,

successors, and assigns of the Settling Parties hereto.

       9.20    The Court shall retain jurisdiction with respect to implementation and

enforcement of the terms of the Stipulation, and all Settling Parties hereto submit to the

jurisdiction of the Court for purposes of implementing and enforcing the Settlement embodied in

the Stipulation.

       9.21    Pending approval of the Court of the Stipulation and its Exhibits, all proceedings

in this Litigation shall be stayed and all members of the Class shall be barred and enjoined from

commencing any action to prosecute or prosecuting any of the Released Claims against any of

the Released Defendant Parties.

       9.22    This Stipulation and the Exhibits hereto shall be considered to have been

negotiated, executed, and delivered, and to be wholly performed, in the State of New York, and

the rights and obligations of the parties to the Stipulation shall be construed and enforced in

accordance with, and governed by, the internal, substantive laws of the State of New York,

without giving effect to that State’s choice-of-law principles.




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        9.23    In the event that any non-material part of the Settlement is found to be unlawful,

void, unconscionable, or against public policy by a court of competent jurisdiction, the

remaining terms and conditions of the Settlement shall remain intact.

        9.24    Neither this Stipulation, nor any of its terms or provisions, nor any of the

negotiations or proceedings connected with it (including any orders or judgments entered in

connection with this Stipulation or the Settlement) is, or shall be construed as, an admission,

presumption or concession by the Released Defendant Parties or their Related Persons, or as

evidence of the truth of any of the allegations in this Litigation, or of any liability, fault,

culpability, or wrongdoing of any kind and shall not be construed as, or deemed to be evidence

of or an admission, presumption, or concession that any of the Releasing Parties or any of their

Related Persons have suffered any damages, harm, or loss. Neither this Stipulation, nor any of

its terms or provisions, nor any of the negotiations or proceedings connected with it (including

any orders or judgments entered in connection with this Stipulation or the Settlement), shall be

referred to, offered as evidence, or received in evidence in any pending or future civil, criminal,

or administrative action or proceeding, except (a) in a proceeding to enforce this Stipulation, (b)

in any action that may be brought against the Released Persons to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, full faith and credit,

release, good faith settlement, judgment bar or reduction or any other theory of claim

preclusion or issue preclusion or similar defense or counterclaim, or (c) as otherwise required by

law.

        9.25    No representations, warranties, or inducements have been made to any of the

parties concerning the Stipulation or its exhibits other than the representations, warranties, and

covenants contained and memorialized in such documents.




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                                                                        EXHIBIT A
                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

                                          Lead Case No. 1:21-cv-00515-ALC
IN RE: BIT DIGITAL, INC. SECURITIES
LITIGATION
                                          CLASS ACTION
     This document relates to:
                                          [PROPOSED] ORDER PRELIMINARILY
                                          APPROVING SETTLEMENT AND
     All Actions
                                          AUTHORIZING DISSEMINATION OF
                                          NOTICE TO THE CLASS
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       WHEREAS, a class action is pending in this Court entitled In re: Bit Digital, Inc. Securities
Litigation, No. 1:21-cv-00515-ALC (the “Action”);
       WHEREAS, (a) Lead Plaintiff Joseph Franklin Monkam Nitcheu (“Lead Plaintiff”), on
behalf of himself and the Class (defined below) and (b) Defendants Bit Digital, Inc. and Erke
Huang (the “Defendants”) (collectively with Lead Plaintiff, the “Settling Parties”) have
determined to settle all claims asserted against Defendants in this Action with prejudice on the
terms and conditions set forth in the Stipulation and Agreement of Class Action Settlement dated
October 12, 2022 (the “Stipulation”) subject to approval of this Court (the “Settlement”);
       WHEREAS, the Settling Parties having made application, pursuant to Federal Rule of Civil
Procedure 23(e), for an order preliminarily approving the settlement of the Action, in accordance
with the Stipulation;
       WHEREAS, the Court has read and considered: (a) Lead Plaintiff’s motion for preliminary
approval of the Settlement and authorizing dissemination of notice to the Class and the papers filed
and arguments made in connection therewith; and (b) the Stipulation and the exhibits attached
thereto; and
       WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall
have the same meanings as they have in the Stipulation.
       NOW THEREFORE, IT IS HEREBY ORDERED:
       1.      Provisional Certification of the Settlement Class – Pursuant to Rules 23(a) and
(b)(3) of the Federal Rules of Civil Procedure, and for the purposes of this settlement only, the
Action is hereby preliminarily certified as a class action on behalf of: all Persons who purchased
Bit Digital common stock between December 21, 2020 and January 11, 2021, inclusive (the “Class
Period”). Excluded from the Class are Defendants and their families, the officers, directors, and
affiliates, and their legal representatives, heirs, successors or assigns, and any entity in which
Defendants have or had a controlling interest.
       2.      Also excluded from the Class are the Persons who timely and validly seek exclusion
from the Class pursuant to the requirements described below and in the Notice to be sent to Class
Members pursuant to this Order.
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         3.    The Court finds, for the purposes of the Settlement only, that the prerequisites for
a class action under Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been
satisfied in that: (a) the number of Class Members is so numerous that joinder of all members is
impracticable; (b) there are questions of law and fact common to the Class; (c) the claims of Lead
Plaintiff are typical of the claims of the Class they seek to represent; (d) Lead Plaintiff and Lead
Counsel have and will fairly and adequately represent the interests of the Class; (e) the questions
of law and fact common to members of the Class predominate over any questions affecting only
individual members of the Class; and (f) a class action is superior to other available methods for
the fair and efficient adjudication of the controversy.
         4.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and solely for the
purposes of effectuating the Settlement, Lead Plaintiff is appointed as representative for the Class
and Lead Counsel is appointed as counsel for the Class. Solely for the purposes of effectuating the
proposed Settlement, Lead Counsel is authorized to act on behalf of Lead Plaintiff and the other
Class Members with respect to all acts or consents required by or that may be given pursuant to
the Stipulation, including all acts that are reasonably necessary to consummate the Settlement.
         5.    Preliminary Approval of the Settlement – The Court hereby preliminarily
approves the Settlement, as embodied in the Stipulation, as being fair, reasonable and adequate to
the Class, subject to further consideration at the Settlement Hearing to be conducted as described
below.
         6.    Settlement Hearing – The Court will hold a settlement hearing (the “Settlement
Hearing”) on _____________, 2022 at __:__ _.m. at the United States District Court for the
Southern District of New York, 40 Foley Square, New York, New York, 10007, for the following
purposes: (a) to determine whether the proposed Settlement on the terms and conditions provided
for in the Stipulation is fair, reasonable and adequate to the Class, and should be approved by the
Court; (b) to determine whether a Judgment substantially in the form attached as Exhibit B to the
Stipulation should be entered dismissing the Action with prejudice against Defendants; (c) to
determine whether the proposed Plan of Allocation for the proceeds of the Settlement is fair and
reasonable and should be approved; (d) to determine whether the motion by Lead Counsel for an
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award of attorneys’ fees and reimbursement of Litigation Expenses should be approved; and (e) to
consider any other matters that may properly be brought before the Court in connection with the
Settlement. Notice of the Settlement and the Settlement Hearing (“Notice”) shall be given to Class
Members as set forth in paragraph 8 of this Order.
       7.      The Court may adjourn the Settlement Hearing without further notice to the Class,
and may approve the proposed Settlement with such modifications as the Settling Parties may
agree to, if appropriate, without further notice to the Class.
       8.      Retention of Claims Administrator and Manner of Giving Notice – Lead
Counsel is hereby authorized to retain Kroll Settlement Administration, LLC (the “Claims
Administrator”) to supervise and administer the notice procedure in connection with the proposed
Settlement as well as the processing of Claims as more fully set forth below. Notice of the
Settlement and the Settlement Hearing shall be given by Lead Counsel as follows:
               (a)     not later than twenty (20) business days after the date of entry of this Order
(the “Notice Date”), Lead Counsel shall cause the Claims Administrator to mail the Postcard
Notice, substantially in the form attached hereto as Exhibit A-1, to those members of the Class as
may be identified through reasonable effort;
               (b)     contemporaneously with the mailing of the Notice, Lead Counsel shall also
cause the Claims administrator to post downloadable copies of the Notice and Claim Form online
at www.BitDigitalSettlement.com;
               (c)     not later than ten (10) business days after the Notice Date, Lead Counsel
shall cause the Claims Administrator to cause the Summary Notice, substantially in the form
attached hereto as Exhibit A-3, to be published once over a national newswire service; and
               (d)     not later than seven (7) calendar days prior to the Settlement Hearing, Lead
Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit or
declaration, of such mailing and publication.
       9.      Approval of Form and Content of Notice – The Court (a) approves, as to form
and content, the Postcard Notice, the Notice, the Summary Notice, and the Claim Form, attached
hereto as Exhibits A-1, A-2, A-3, and A-4 respectively, and (b) finds that the mailing and
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distribution of the Postcard Notice, the posting of the Notice and Claim Form online, and the
publication of the Summary Notice in the manner and form set forth in paragraph 8 of this Order
(i) is the best notice practicable under the circumstances; (ii) constitutes notice that is reasonably
calculated, under the circumstances, to apprise Class Members of the pendency of the Action, of
the effect of the proposed Settlement (including the Releases to be provided thereunder), of Lead
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses, of
their right to object to the Settlement, the Plan of Allocation and/or Lead Counsel’s motion for
attorneys’ fees and reimbursement of Litigation Expenses, of their right to exclude themselves
from the Class, and of their right to appear at the Settlement Hearing; (iii) constitutes due, adequate
and sufficient notice to all persons and entities entitled to receive notice of the proposed
Settlement; and (iv) satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure,
the United States Constitution (including the Due Process Clause), the Private Securities Litigation
Reform Act of 1995, 15 U.S.C. § 77z-1(a)(7), as amended, and all other applicable law and rules.
The date and time of the Settlement Hearing shall be included in the Notice and Summary Notice
before they are mailed, posted online, and published, respectively.
       10.     Nominee Procedures – Brokers and other nominees who purchased or otherwise
acquired Bit Digital common stock during the Class Period for the benefit of another Person shall
(a) within seven (7) calendar days of receipt of the Notice, request from the Claims Administrator
sufficient copies of the Notice to forward to all such beneficial owners and within seven (7)
calendar days of receipt of those Notices forward them to all such beneficial owners; or (b) within
seven (7) calendar days of receipt of the Notice, send a list of the names and addresses of all such
beneficial owners to the Claims Administrator in which event the Claims Administrator shall
promptly mail the Notice to such beneficial owners. Upon full compliance with this Order, such
nominees may seek reimbursement of their reasonable expenses actually incurred in complying
with this Order, by providing the Claims Administrator with proper documentation supporting the
expenses for which reimbursement is sought. Such properly documented expenses incurred by
nominees in compliance with the terms of this Order shall be paid from the Settlement Fund, with
any disputes as to the reasonableness or documentation of expenses incurred subject to review by
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the Court.
       11.     Participation in the Settlement – Class Members who wish to participate in the
Settlement and to be eligible to receive a distribution from the Net Settlement Fund must complete
and submit a Claim Form in accordance with the instructions contained therein. Unless the Court
orders otherwise, all Claim Forms must be postmarked no later than ninety (90) calendar days after
the Notice Date. Notwithstanding the foregoing, Lead Counsel may, at its discretion, accept for
processing late Claims provided such acceptance does not delay the distribution of the Net
Settlement Fund to the Class. By submitting a Claim, a Person shall be deemed to have submitted
to the jurisdiction of the Court with respect to his, her or its Claim and the subject matter of the
Settlement.
       12.     Each Claim Form submitted must satisfy the following conditions: (a) it must be
properly completed, signed and submitted in a timely manner in accordance with the provisions of
the preceding paragraph; (b) it must be accompanied by adequate supporting documentation for
the transactions and holdings reported therein, in the form of broker confirmation slips, broker
account statements, an authorized statement from the broker containing the transactional and
holding information found in a broker confirmation slip or account statement, or such other
documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the
person executing the Claim Form is acting in a representative capacity, a certification of his, her
or its current authority to act on behalf of the Class Member must be included in the Claim Form
to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim Form must be
complete and contain no material deletions or modifications of any of the printed matter contained
therein and must be signed under penalty of perjury.
       13.     Any Class Member that does not timely and validly submit a Claim Form or whose
Claim is not otherwise approved by the Court: (a) shall be deemed to have waived his, her or its
right to share in the Net Settlement Fund; (b) shall be forever barred from participating in any
distributions therefrom; (c) shall be bound by the provisions of the Stipulation and the Settlement
and all proceedings, determinations, orders and judgments in the Action relating thereto, including,
without limitation, the Judgment or Alternate Judgment, if applicable, and the Releases provided
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for therein, whether favorable or unfavorable to the Class; and (d) will be barred from
commencing, maintaining or prosecuting any of the Released Claims against each and all of the
Released Defendant Parties, as more fully described in the Stipulation and Notice.
Notwithstanding the foregoing, late Claim Forms may be accepted for processing as set forth in
paragraph 11 above.
       14.     Exclusion From the Class – Any member of the Class who wishes to exclude
himself, herself or itself from the Class must request exclusion in writing within the time and in
the manner set forth in the Notice, which shall provide that: (a) any such request for exclusion
from the Class must be mailed or delivered such that it is received no later than twenty-one (21)
calendar days prior to the Settlement Hearing, to: Bit Digital Securities Litigation Settlement,
EXCLUSIONS, c/o ____________________, P.O. Box ______, ____________, __ _____-____,
and (b) each request for exclusion must (i) state the name, address, and telephone number of the
Person requesting exclusion, and in the case of entities, the name and telephone number of the
appropriate contact person; (ii) state that such Person “requests exclusion from the Settlement
Class in In re Bit Digital Securities Litigation, No. 1:21-cv-00515-ALC”; (iii) state the number of
shares of Bit Digital common stock that the Person requesting exclusion purchased/acquired and/or
sold during the Class Period, as well as the dates and prices of each such purchase/acquisition and
sale; and (iv) be signed by the Person requesting exclusion or an authorized representative. A
request for exclusion shall not be effective unless it provides all the required information and is
received within the time stated above, or is otherwise accepted by the Court.
       15.     Any Person who timely and validly requests exclusion in compliance with the terms
stated in this Order and is excluded from the Class shall not be a Class Member, shall not be bound
by the terms of the Settlement or any orders or judgments in the Action and shall not receive any
payment out of the Net Settlement Fund.
       16.     Any Class Member who or which does not timely and validly request exclusion
from the Class in the manner stated in this Order: (a) shall be deemed to have waived his, her or
its right to be excluded from the Class; (b) shall be forever barred from requesting exclusion from
the Class in this or any other proceeding; (c) shall be bound by the provisions of the Stipulation
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and Settlement and all proceedings, determinations, orders and judgments in the Action, including,
but not limited to, the Judgment or Alternate Judgment, if applicable, and the Releases provided
for therein, whether favorable or unfavorable to the Class; and (d) will be barred from
commencing, maintaining or prosecuting any of the Released Claims against any of the Released
Defendant Parties, as more fully described in the Stipulation and Notice.
       17.      Appearance and Objections at Settlement Hearing – Any Class Member who
does not request exclusion from the Class may enter an appearance in the Action, at his, her or its
own expense, individually or through counsel of his, her or its own choice, by filing with the Clerk
of Court and delivering a notice of appearance to both Lead Counsel and Defendants’ Counsel, at
the addresses set forth in paragraph 18 below, such that it is received no later than twenty-one (21)
calendar days prior to the Settlement Hearing, or as the Court may otherwise direct. Any Class
Member who does not enter an appearance will be represented by Lead Counsel.
       18.      Any Class Member who does not request exclusion from the Class may file a
written objection to the proposed Settlement, the proposed Plan of Allocation, and/or Lead
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses and
appear and show cause, if he, she or it has any cause, why the proposed Settlement, the proposed
Plan of Allocation and/or Lead Counsel’s motion for attorneys’ fees and reimbursement of
Litigation Expenses should not be approved; provided, however, that no Class Member shall be
heard or entitled to contest the approval of the terms and conditions of the proposed Settlement,
the proposed Plan of Allocation and/or the motion for attorneys’ fees and reimbursement of
Litigation Expenses unless that Person has filed a written objection with the Court and served
copies of such objection on Lead Counsel and Defendants’ Counsel at the addresses set forth below
such that they are received no later than twenty-one (21) calendar days prior to the Settlement
Hearing.
                  Lead Counsel                                  Defendants’ Counsel

               Block & Leviton LLP                        Kagen, Caspersen & Bogart PLLC
                  Jacob A. Walker                                  Stuart Kagen
           260 Franklin Street, Suite 1860                   757 Third Avenue, 20th Fl
                Boston, MA 02110                               New York, NY 10017
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       19.     Any objections, filings and other submissions by the objecting Class Member:
(a) must state the name, address, and telephone number of the Person objecting and must be signed
by the objector; (b) must contain a statement of the Class Member’s objection or objections, and
the specific reasons for each objection, including any legal and evidentiary support the Class
Member wishes to bring to the Court’s attention; and (c) must include documents sufficient to
prove membership in the Class, including the number of shares of Bit Digital common stock that
the objecting Class Member purchased/acquired and/or sold during the Class Period, as well as the
dates and prices of each such purchase/acquisition and sale. Objectors who enter an appearance
and desire to present evidence at the Settlement Hearing in support of their objection must include
in their written objection or notice of appearance the identity of any witnesses they may call to
testify and any exhibits they intend to introduce into evidence at the hearing.
       20.     Any Class Member who or which does not make his, her or its objection in the
manner provided herein shall be deemed to have waived his, her or its right to object to any aspect
of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s motion for an
award of attorneys’ fees and reimbursement of Litigation Expenses and shall be forever barred and
foreclosed from objecting to the fairness, reasonableness or adequacy of the Settlement, the Plan
of Allocation or the requested attorneys’ fees and Litigation Expenses, or from otherwise being
heard concerning the Settlement, the Plan of Allocation or the requested attorneys’ fees and
Litigation Expenses in this or any other proceeding.
       21.     Stay and Temporary Injunction – Until otherwise ordered by the Court, the Court
stays all proceedings in the Action other than proceedings necessary to carry out or enforce the
terms and conditions of the Stipulation. Pending final determination of whether the Settlement
should be approved, the Court bars and enjoins Lead Plaintiff, and all other members of the Class,
from commencing or prosecuting any and all of the Released Claims against each and all of the
Released Defendant Parties.
       22.     Settlement Administration Fees and Expenses – All reasonable costs incurred in
identifying Class Members and notifying them of the Settlement as well as in administering the
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Settlement shall be paid as set forth in the Stipulation without further order of the Court.
       23.     Settlement Fund – The contents of the Settlement Fund held by Huntington Bank
(which the Court approves as the Escrow Agent), shall be deemed and considered to be in custodia
legis of the Court, and shall remain subject to the jurisdiction of the Court, until such time as they
shall be distributed pursuant to the Stipulation and/or further order(s) of the Court.
       24.     Taxes – Lead Counsel is authorized and directed to prepare any tax returns and any
other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement Fund
any Taxes owed with respect to the Settlement Fund, and to otherwise perform all obligations with
respect to Taxes and any reporting or filings in respect thereof without further order of the Court
in a manner consistent with the provisions of the Stipulation.
       25.     Termination of Settlement – If the Settlement is terminated as provided in the
Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails
to occur, this Order shall be vacated, rendered null and void and be of no further force and effect,
except as otherwise provided by the Stipulation, and this Order shall be without prejudice to the
rights of the Lead Plaintiff, the other Class Members and Defendants, and the Parties shall revert
to their respective positions in the Action as of August 12, 2022, as provided in the Stipulation.
       26.     Use of this Order – Neither this Order, the Term Sheet, the Stipulation (whether
or not consummated), including the exhibits thereto and the Plan of Allocation contained therein
(or any other plan of allocation that may be approved by the Court), the negotiations leading to the
execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in
connection with the Term Sheet, the Stipulation and/or approval of the Settlement (including any
arguments proffered in connection therewith): (a) shall be offered against any of the Released
Defendant Parties as evidence of, or construed as, or deemed to be evidence of any presumption,
concession, or admission by any of the Released Defendant Parties with respect to the truth of any
fact alleged by Lead Plaintiff or the validity of any claim that was or could have been asserted or
the deficiency of any defense that has been or could have been asserted in this Action or in any
other litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of any of the
Released Defendant Parties or in any way referred to for any other reason as against any of the
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Released Defendant Parties, in any civil, criminal or administrative action or proceeding, other
than such proceedings as may be necessary to effectuate the provisions of the Stipulation; (b) shall
be offered against any of the Released Plaintiff Parties, as evidence of, or construed as, or deemed
to be evidence of any presumption, concession or admission by any of the Released Plaintiff Parties
that any of their claims are without merit, that any of the Released Defendant Parties had
meritorious defenses, or that damages recoverable under the Complaint would not have exceeded
the Settlement Amount or with respect to any liability, negligence, fault or wrongdoing of any
kind, or in any way referred to for any other reason as against any of the Released Plaintiff Parties,
in any civil, criminal or administrative action or proceeding, other than such proceedings as may
be necessary to effectuate the provisions of the Stipulation; or (c) shall be construed against any
of the Releasees as an admission, concession, or presumption that the consideration to be given
under the Settlement represents the amount which could be or would have been recovered after
trial; provided, however, that if the Stipulation is approved by the Court, the Settling Parties and
the Releasees and their respective counsel may refer to it to effectuate the protections from liability
granted thereunder or otherwise to enforce the terms of the Settlement.
       27.     Supporting Papers – Lead Counsel shall file and serve the opening papers in
support of the proposed Settlement, the Plan of Allocation, and Lead Counsel’s motion for an
award of attorneys’ fees and reimbursement of Litigation Expenses no later than thirty (30)
calendar days prior to the Settlement Hearing; and reply papers, if any, shall be filed and served
no later than seven (7) calendar days prior to the Settlement Hearing.
       28.     The Court retains jurisdiction to consider all further applications arising out of or
connected with the proposed Settlement.
SO ORDERED this _________ day of __________________, 2022.


                                                ________________________________________
                                                     The Honorable Andrew L. Carter, Jr.
                                                         United States District Judge
                                                                          Exhibit A-1
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Exhibit A-2

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


    IN RE: BIT DIGITAL, INC. SECURITIES
    LITIGATION
                                                  Lead Case No. 1:21-cv-00515-ALC
         This document relates to:
                                                  CLASS ACTION
         All Actions




  NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT;
(II) MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF
          LITIGATION EXPENSES; AND (III) SETTLEMENT HEARING


      A Federal Court has authorized this Notice. This is not a solicitation from a lawyer.

  Please read this notice carefully. A $2.1 million settlement has been reached for investors in
Bit Digital, Inc. stock between December 21, 2020 and January 11, 2021. If you are a member of
                the Class, your legal rights will be affected whether you act or not.


Notice of Pendency of Class Action: Please be advised that your rights may be affected by the
above-captioned securities class action (the “Action”) pending in the United States District Court
for the Southern District of New York (the “Court”), if, during the period between December 21,
2020 and January 11, 2021 inclusive (the “Class Period”), you purchased or otherwise acquired
Bit Digital, Inc. (“Bit Digital” or the “Company”) common stock.1

Notice of Settlement: Please also be advised that the Court-appointed Lead Plaintiff, on behalf
of himself and the Class (as defined below), have reached a proposed settlement of this Action
for $2.1 million in cash that, if approved, would resolve all claims in the Action (the
“Settlement”).

Please read this notice carefully. It explains important rights you may have, including the
possible receipt of cash from the Settlement. If you are a member of the Class, your rights are
affected whether or not you act.




1
 Capitalized terms used in this Notice that are not otherwise defined herein shall have the
meanings ascribed to them in the Stipulation and Agreement of Class Action Settlement dated
October 12, 2022 (the “Stipulation”), which is available at www.BitDigitalSettlement.com.
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Exhibit A-2

If you have any questions about this Notice, the proposed Settlement, or your eligibility to
participate in the Settlement, please do not contact Bit Digital, any other Defendants in the
Action, or their counsel. Questions should be directed to Class Counsel or the Claims
Administrator (see page XX).


                            Description of the Action and the Class

This Notice relates to a proposed Settlement of claims in a pending Action brought by investors
alleging, among other things, that Defendants violated the federal securities laws by making
materially false and misleading statements, by failing to disclose material adverse facts about the
Company’s Bitcoin mining operations, its entrance into the Bitcoin industry, and the extent of its
operations. The Defendants deny each and every claim and contention alleged in the Action and
deny any misconduct or wrongdoing whatsoever. The proposed Settlement, if approved by the
Court, will settle all claims of the Class, as defined on page X below.

                               Statement of the Class’s Recovery

Subject to Court approval, Lead Plaintiff, on behalf of himself and the Class, has agreed to settle
the Action in exchange for a settlement payment of $2,100,000 in cash (the “Settlement Amount”)
to be deposited into an escrow account. The Net Settlement Fund (i.e., the Settlement Amount plus
any and all interest earned thereon (the “Settlement Fund”) less (i) the amount of the Fee and
Expense Award and any award to Lead Plaintiff as allowed under the PSLRA, if and to the extent
allowed by the Court; (ii) Notice and Administration Expenses; (iii) Taxes and Tax Expenses; and
(iv) any other fees or expenses approved by the Court. The Net Settlement Fund will be distributed
in accordance with a plan of allocation that is approved by the Court, which will determine how
the Net Settlement Fund shall be allocated among members of the Class. The proposed plan of
allocation (the “Plan of Allocation”) is set forth on pages XX-XX below.

                   Estimate of the Average Amount of Recovery Per Share

Based on the number of shares of Bit Digital common stock exchanged during the Class Period
that may have been affected by the matters at issue in the Action, and assuming that all Class
Members elect to participate in the Settlement, the estimated average recovery (before the
deduction of any Court-approved fees, expenses and costs as described herein) per eligible security
is approximately 9.2 cents per share. Class Members should note, however, that the foregoing
average recovery per share is only an estimate. Some Class Members may recover more or less
than this estimated amount depending on, among other factors, when and at what prices they
purchased/acquired or sold their Bit Digital common stock and the total number of valid Claim
Forms submitted. Distributions to Class Members will be made based on the Plan of Allocation
set forth herein (see pages XX-XX below) or such other plan of allocation as may be ordered by
the Court.

                   Estimate of the Average Amount of Damages Per Share

The Parties do not agree on the average amount of damages per share that would be recoverable if
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Exhibit A-2

Lead Plaintiff was to prevail in the Action. Among other things, Defendants do not agree with the
assertion that they violated the federal securities laws or that any damages were suffered by any
members of the Class as a result of their conduct.

                             Attorneys’ Fees and Expenses Sought

Lead Counsel, who have been prosecuting the Action on a wholly contingent basis since its
inception in 2021, have not received any payment of attorneys’ fees for their representation of the
Class and have advanced the funds to pay expenses necessarily incurred to prosecute this Action.
Court appointed Lead Counsel, Block & Leviton LLP, will apply to the Court for an award of
attorneys’ fees in an amount not to exceed 25% of the Settlement Fund. In addition, Lead Counsel
will apply for reimbursement of Litigation Expenses paid or incurred in connection with the
institution, prosecution, and resolution of the claims against the Defendants, in an amount not to
exceed $30,000, which may include an application for reimbursement of the reasonable costs and
expenses incurred by Lead Plaintiff directly related to his representation of the Class. Any fees
and expenses awarded by the Court, or any Lead Plaintiff Award, shall be paid solely from the
Settlement Fund and shall be paid to Lead Counsel, or with respect to a Lead Plaintiff Award, paid
to Lead Plaintiff, following an award ordered by the Court, provided that there has been final
approval of the Stipulation of Settlement by the Court. If there is any appeal of an award of
attorneys’ fees and expenses, or of a Lead Plaintiff Award, Lead Counsel shall repay to the
Settlement Fund any amount of attorneys’ fees or expenses reversed on appeal. Class Members
are not personally liable for any such fees or expenses. Estimates of the average cost per affected
share of Bit Digital common stock, if the Court approves Lead Counsel’s fee and expense
application, is 2.4 cents per eligible share.

                          Identification of Attorneys’ Representatives

Lead Plaintiff and the Class are represented by Block & Leviton LLP, 260 Franklin Street, Suite
1860, Boston, MA 02110. You may contact BitDigitalSettlement@blockleviton.com, or call (617)
398-5600 to speak with an attorney representing the Class.

                                   Reasons for the Settlement

Lead Plaintiff’s principal reason for entering into the Settlement is the substantial immediate cash
benefit for the Class without the risk or the delays inherent in further litigation. Moreover, the
substantial cash benefit provided under the Settlement must be considered against the significant
risk that a smaller recovery – or indeed no recovery at all – might be achieved after motions to
dismiss the amended complaint, for class certification, summary judgment, a trial of the Action,
and the likely appeals that would follow a trial. This process could be expected to last several
years. Defendants, who deny all allegations of wrongdoing or liability whatsoever, are entering
into the Settlement solely to eliminate the uncertainty, burden and expense of further protracted
litigation.
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Exhibit A-2


                      Your Legal Rights and Options in the Settlement
 Submit a claim.                       This is the only way to be eligible to receive a payment
 Submit a Claim Form online or         from the Settlement Fund. If you are a Class Member
 postmarked no later than              and you remain in the Class, you will be bound by the
 ___________, 2023                     Settlement as approved by the Court and you will give up
                                       any Released Claims (defined below) that you have
                                       against Defendants and the other Released Defendant
                                       Parties (defined below), so it is in your interest to submit
                                       a Claim Form.
 Exclude yourself.                     If you exclude yourself from the Class, you will not be
 Exclude yourself from the Class       eligible to receive any payment from the Settlement
 by submitting a written exclusion     Fund. This is the only option that allows you ever to be
 so that it is received by no later    part of any other lawsuit against any of the Defendants or
 than __________, 2023.                the other Released Defendant Parties concerning the
                                       Released Claims.
 Object.                               If you do not like the proposed Settlement, the proposed
 Object to the Settlement by           Plan of Allocation, or the request for attorneys’ fees and
 submitting a written objection so     reimbursement of Litigation Expenses, you may write to
 that it is received no later than     the Court and explain why you do not like them. You
 ______________, 2023.                 cannot object to the Settlement, the Plan of Allocation or
                                       the fee and expense request unless you are a Class
                                       Member and do not exclude yourself from the Class.
 Appear at a hearing.                  Filing a written objection and notice of intention to
 Attend a hearing on                   appear by _____________, 2022 allows you to speak in
 ______________, and file a            Court, at the discretion of the Court, about the fairness of
 Notice of Intention to Appear so      the proposed Settlement, the Plan of Allocation, and/or
 that it is received no later than     the request for attorneys’ fees and reimbursement of
 ____________, 2023.                   Litigation Expenses. If you submit a written objection,
                                       you may (but you do not have to) attend the hearing and,
                                       at the discretion of the Court, speak to the Court about
                                       your objection.
 Do nothing.                           If you are a member of the Class and you do not submit a
                                       valid Claim Form, you will not be eligible to receive any
                                       payment from the Settlement Fund. You will, however,
                                       remain a member of the Class, which means that you give
                                       up your right to sue about the claims that are resolved by
                                       the Settlement and you will be bound by any judgments
                                       or orders entered by the Court in the Action.
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Exhibit A-2


                                    Why did I get the Notice?

The Court directed that the Notice be mailed to you because you or someone in your family or an
investment account for which you serve as a custodian may have purchased or otherwise acquired
one or more shares of Bit Digital common stock during the Class Period. The Court also directed
that this Notice be posted online at www.BitDigitalSettlement.com. The Court has directed us to
disseminate these notices because, as a potential Class Member, you have a right to know about
your options before the Court rules on the proposed Settlement. Additionally, you have the right
to understand how this class action lawsuit may generally affect your legal rights. If the Court
approves the Settlement, and the Plan of Allocation (or some other plan of allocation), the claims
administrator selected by Lead Plaintiff and approved by the Court will make payments pursuant
to the Settlement after any objections and appeals are resolved.

The purpose of this Notice is to inform you of the existence of this case, that it is a class action,
how you might be affected, and how to exclude yourself from the Class if you wish to do so. It is
also being sent to inform you of the terms of the proposed Settlement, and of a hearing to be held
by the Court to consider the fairness, reasonableness, and adequacy of the Settlement, the proposed
Plan of Allocation and the motion by Class Counsel for an award of attorneys’ fees and
reimbursement of Litigation Expenses (the “Settlement Hearing”). See page XX below for details
about the Settlement Hearing, including the date and location of the hearing.

The issuance of this Notice is not an expression of any opinion by the Court concerning the merits
of any claim in the Action, and the Court still has to decide whether to approve the Settlement. If
the Court approves the Settlement and a plan of allocation, then payments to Authorized Claimants
will be made after any appeals are resolved and after the completion of all claims processing.
Please be patient, as this process can take some time to complete.

                      How do I know if I am affected by the Settlement?
                               Who is included in the Class?

If you are a member of the Class, you are subject to the Settlement, unless you timely request to
be excluded. The Class consists of:

       All Persons who purchased Bit Digital common stock between December 21, 2020
       and January 11, 2021 inclusive (the “Class Period”).

Excluded from the Class are Defendants and their families, the officers, directors, and affiliates,
and their legal representatives, heirs, successors or assigns, and any entity in which Defendants
have or had a controlling interest. Also excluded from the Class are the Persons who timely and
validly seek exclusion from the Class or whose request for exclusion is accepted by the Court. See
“What if I do not want to be a member of the Class? How do I exclude myself?” on page XX
below.

PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A
CLASS MEMBER OR THAT YOU WILL BE ENTITLED TO RECEIVE PROCEEDS
FROM THE SETTLEMENT.
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       If you are a Class Member and you wish to be eligible to participate in the
       distribution of proceeds from the Settlement, you are required to submit a
       Claim Form and the required supporting documentation as set forth therein,
       postmarked or submitted online no later than _____ __, 2023. The Claim
       Form is available for download online at www.BitDigitalSettlement.com. You
       may also submit your claim, and the required supporting documentation
       online at www.BitDigitalSettlement.com.

                    What are Lead Plaintiff’s reasons for the Settlement?

Lead Plaintiff and Lead Counsel believe that the claims asserted against Defendants have merit.
They recognize, however, the expense and length of continued proceedings necessary to pursue
their claims against Defendants through trial and appeals, as well as the very substantial risks they
would face in establishing liability and damages. Among other things, Lead Plaintiff and the Class
faced the risk that they would fail to survive Defendants’ Motion to Dismiss, fail to certify a class
in whole or in part, that Defendants would succeed in reducing the total amount of damages
available to the Class, or would succeed in having the case dismissed in whole or in part at
summary judgment or at trial.

Defendants have denied the claims asserted against them in the Action and deny having engaged
in any wrongdoing or violation of law of any kind whatsoever. Defendants have agreed to the
Settlement solely to eliminate the burden and expense of continued litigation. Accordingly, the
Settlement may not be construed as an admission of any wrongdoing by Defendants.

                       What might happen if there were no Settlement?

If there were no Settlement and Lead Plaintiff failed to establish any essential legal or factual
element of his claims against Defendants, neither Lead Plaintiff nor the other members of the Class
would recover anything from Defendants. Also, if Defendants were successful in proving any of
their defenses, either at summary judgment, at trial, or on appeal, the Class could recover
substantially less than the amount provided in the Settlement, or nothing at all.

              How are Class members affected by the Action and the Settlement?

As a Class Member, you are represented by Lead Plaintiff and Lead Counsel, unless you enter an
appearance through counsel of your own choice at your own expense. You are not required to
retain your own counsel, but if you choose to do so, such counsel must file a notice of appearance
on your behalf and must serve copies of his or her appearance on the attorneys listed in the section
entitled, “When and where will the Court decide whether to approve the settlement?” on page XX
below.

If you are a Class Member and do not wish to remain a Class Member, you may exclude yourself
from the Class by following the instructions in the section entitled, “What if I do not want to be a
member of the Class? How do I exclude myself?” on page XX below.

If you are a Class Member and you wish to object to the Settlement, the Plan of Allocation, or
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Lead Counsel’s application for attorneys’ fees and reimbursement of Litigation Expenses, and if
you do not exclude yourself from the Class, you may present your objections by following the
instructions in the section entitled, “When and where will the Court decide whether to approve the
Settlement?” on page XX below.

If you are a Class Member and you do not exclude yourself from the Class, you will be bound by
any orders issued by the Court. If the Settlement is approved, the Court will enter a judgment (the
“Judgment”). The Judgment will dismiss with prejudice the claims against Defendants and will
provide that, upon the Effective Date of the Settlement, Lead Plaintiff and each of the other Class
Members, on behalf of themselves, and their respective heirs, executors, administrators,
predecessors, successors, and assigns in their capacities as such, shall be deemed to have, and by
operation of law and of the judgment shall have, fully, finally and forever compromised, settled,
released, resolved, relinquished, waived and discharged each and every Released Claim (as defined
below) against the Defendants and the other Released Defendants Parties (as defined below), and
shall forever be barred and enjoined from prosecuting any or all of the Released Claims against
any of the Released Defendant Parties.

“Released Claims” means any and all claims and causes of action of every nature and description
whatsoever, including Unknown Claims (defined below), whether arising under federal, state,
local, common, statutory, administrative, or foreign law, or any other law, rule, or regulation, at
law or in equity, whether fixed or contingent, whether foreseen or unforeseen, whether accrued or
unaccrued, whether liquidated or unliquidated, whether matured or unmatured, whether direct,
representative, class, or individual in nature, that either were or could have been asserted in this
Litigation, which arise out of, are based upon, or are related in any way to both: (i) the purchase
or acquisition, or sale of Bit Digital securities; and (ii) the allegations, transactions, facts, matters,
or occurrences, representations or omissions involved, set forth, or referred to, or which could have
been alleged, in the initial complaint dated January 20, 2021 and/or any amendments thereto.

“Released Defendant Parties” means (i) Defendants; and (ii) each of their respective family
members, and their respective general partners, limited partners, principals, joint venturers,
members, officers, directors, managers, managing directors, supervisors, employees, contractors,
consultants, auditors, accountants, financial advisors, professional advisors, investment bankers,
underwriters, representatives, insurers, trustees, trustors, agents, attorneys, professionals,
predecessors, successors, assigns, heirs, executors, administrators, and any controlling person
thereof in their capacities as such.

“Unknown Claims” means any Released Claims or Released Defendant Claims that Defendants,
Lead Plaintiff, or any other Class Member does not know or suspect to exist in such party’s favor
at the time of the release, which, if known by such party, might have affected such party’s decision
to settle or release claims. Upon the Effective Date of the Settlement, Defendants, Lead Plaintiff
and the Class shall expressly waive, and be deemed to have waived, to the fullest extent permitted
by law, the provisions, rights, and benefits of California Civil Code § 1542, which provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
        EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
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       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASE PARTY.

Lead Plaintiff and Defendants acknowledge, and each of the other Class Members and each of
the other Released Defendant Parties shall be deemed by operation of law to have acknowledged,
that the foregoing waiver was separately bargained for and a key element of the Settlement.

The Judgment will also provide that, upon the Effective Date of the Settlement, Defendants, on
behalf of themselves, and their respective heirs, executors, administrators, predecessors,
successors, and assigns in their capacities as such, shall be deemed to have, and by operation of
law and of the judgment shall have, fully, finally and forever compromised, settled, released,
resolved, relinquished, waived and discharged each and every Released Defendant Claims (as
defined below) against Lead Plaintiff and the other Release Plaintiff Parties (as defined below),
and shall forever be barred and enjoined from prosecuting any or all of the Released Defendant
Claims against any of the Released Plaintiff Parties. This release shall not apply to any person or
entity who or which timely and validly seeks exclusion from the Class or whose request for
exclusion is accepted by the Court.

“Released Defendant Claims” means upon the Effective Date, Defendants will release as against
Released Plaintiff Parties, all claims and causes of action of every nature and description, whether
known or Unknown Claims, whether arising under federal, state, local, common, statutory,
administrative, or foreign law, or any other law, rule, or regulation, at law or in equity, whether
fixed or contingent, whether foreseen or unforeseen, whether accrued or unaccrued, whether
liquidated or unliquidated, whether matured or unmatured, whether direct, representative, class, or
individual in nature that arise out of or relate in any way to the institution, prosecution, or
settlement of the claims against Defendants. Released Defendant Claims shall not include any
claims relating to the enforcement of the Settlement.

“Released Plaintiff Parties” means: (i) Lead Plaintiff and other Class Members; and (ii)
each of their respective family members, and their respective general partners, limited
partners, principals, shareholders, joint venturers, members, officers, directors, managers,
managing directors, supervisors, employees, contractors, consultants, auditors,
accountants, financial advisors, professional advisors, investment bankers, representatives,
insurers, trustees, trustors, agents, attorneys, including Lead Counsel, professionals,
predecessors, successors, assigns, heirs, executors, administrators, and any controlling
person thereof, in their capacities as such.

               How do I participate in the Settlement? What do I need to do?

To be eligible for a payment from the proceeds of the Settlement, you must be a member of the
Class and you must timely complete a Claim Form with adequate supporting documentation. Your
Claim Form must be submitted online or postmarked no later than _________, 2023. A Claim
Form is available on the website maintained by the Claims Administrator for the Settlement,
www.BitDigitalSettlement.com. You may also request that a Claim Form be mailed to you by
emailing the Claims Administrator at info@BitDigitalSettlement.com, or calling toll free at 1-___-
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____-___. Please retain all records of your ownership and transactions in Bit Digital common
stock, as they may be needed to document your Claim. If you request exclusion from the Class or
do not submit a timely and valid Claim Form, you will not be eligible to share in the Net Settlement
Fund.

                                How much will my payment be?

At this time, it is not possible to make any determinations as to how much any individual Class
Member may receive from the Settlement.

Pursuant to the Settlement, Defendants have agreed to pay or cause to be paid $2,100,000 in cash.
The Settlement Amount will be deposited into an escrow account. The Settlement Amount plus
any interest earned thereon is referred to as the “Settlement Fund.” If the Settlement is approved
by the Court and the Effective Date occurs, the “Net Settlement Fund” (that is, the Settlement Fund
less: (i) the amount of the Fee and Expense Award and any award to Lead Plaintiff as allowed
under the PSLRA, if and to the extent allowed by the Court; (ii) Notice and Administration
Expenses; (iii) Taxes and Tax Expenses; and (iv) any other fees or expenses approved by the Court)
will be distributed to Class Members who submit valid Claim Forms, in accordance with the
proposed Plan of Allocation or such other plan of allocation as the Court may approve.

The Net Settlement Fund will not be distributed unless and until the Court has approved the
Settlement and a plan of allocation, and the time for any petition for rehearing, appeal or review,
whether by certiorari or otherwise, has expired.

Neither Defendants nor any other person or entity that paid any portion of the Settlement Amount
on their behalf are entitled to receive back any portion of the Settlement Fund once the Court’s
order or judgment approving the Settlement becomes Final. Defendants shall not have any liability,
obligation or responsibility for the administration of the Settlement, the disbursement of the Net
Settlement Fund or the plan of allocation.

Approval of the Settlement is independent from approval of a plan of allocation. Any
determination with respect to a plan of allocation will not affect the Settlement, if approved.

Unless the Court otherwise orders, any Class Member who fails to complete a Claim Form and
submit it so that it is postmarked (if mailed) or received (if filed online) no later than ______ __,
2023, shall be forever barred from receiving any distribution from the Net Settlement Fund or
payment pursuant to the Stipulation, but shall in all other respects be bound by all of the terms of
the Stipulation and the Settlement, including the terms of any Judgment entered and the Releases
given. This means that each Class Member releases the Released Claims (as defined on page XX
above) against the Released Defendant Parties (as defined on page XX above) and will be enjoined
and prohibited from filing, prosecuting, or pursuing any of the Released Claims against any of the
Released Defendant Parties whether or not such Class Member submits a Claim Form.

Participants in and beneficiaries of a plan covered by ERISA (“ERISA Plan”) should NOT include
any information relating to their transactions in Bit Digital common stock held through the ERISA
Plan in any Claim Form that they might submit in this Action. They should include ONLY those
shares that they purchased or acquired outside of the ERISA Plan. Claims based on any ERISA
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Plan’s purchases or acquisitions of Bit Digital common stock during the Class Period may be made
by the plan’s trustees. To the extent any of the Defendants or any of the other persons or entities
excluded from the Class are participants in the ERISA Plan, such persons or entities shall not
receive, either directly or indirectly, any portion of the recovery that may be obtained from the
Settlement by the ERISA Plan.

The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim of
any Class Member.

Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to
his, her or its Claim Form.

                            PROPOSED PLAN OF ALLOCATION

       1.      The objective of the Plan of Allocation is to equitably distribute the Net Settlement
proceeds to those Settlement Class Members who suffered economic losses as a proximate result
of the alleged wrongdoing. The calculations made pursuant to the Plan of Allocation are not
intended to be estimates of, nor indicative of, the amounts that Settlement Class Members might
have been able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
intended to be estimates of the amounts that will be paid to Authorized Claimants pursuant to the
Settlement. The computations under the Plan of Allocation are only a method to weigh the claims
of Authorized Claimants against one another for the purposes of making pro rata allocations of
the Net Settlement Fund.

        2.     The Plan of Allocation generally measures the amount of loss that a Settlement
Class Member can claim for purposes of making pro rata allocations of the cash in the Net
Settlement Fund to Authorized Claimants. The Plan of Allocation is not a formal damage analysis.
Recognized Loss Amounts are based primarily on the price declines observed over the period
during which Lead Plaintiff alleges corrective information was entering the marketplace. In this
case, Lead Plaintiff alleges that Defendants made false statements and omitted material facts
between December 21, 2020 and January 11, 2021, which had the effect of artificially inflating the
prices of Bit Digital common stock.

       3.       In order to have recoverable damages, disclosure of the alleged misrepresentations
must be the cause of the decline in the price of Bit Digital common stock. The alleged corrective
disclosure that removed the artificial inflation from the price of Bit Digital common stock occurred
on January 11, 2021 at 2:00 p.m. ET. Accordingly, in order to have a Recognized Loss Amount, a
Settlement Class Member who purchased shares of Bit Digital common stock during the Class
Period must have held such shares through the alleged corrective disclosure.

       4.      The entire Net Settlement Fund shall be distributed to members of the Settlement
Class, other than the portion of the Net Settlement Fund that cannot be distributed because of
prohibitive administrative costs, which remainder shall be donated to a non-sectarian, non-profit
organization.

                  CALCULATION OF RECOGNIZED LOSS AMOUNTS
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        5.      Based on the formula stated below, a Recognized Loss Amount will be calculated
for each purchase of Bit Digital common stock during the Class Period that is listed on the Claim
Form and for which adequate documentation is provided. If a Recognized Loss Amount calculates
to a negative number or zero under the formula below, the Recognized Loss Amount for that
transaction will be zero.

       6.     For each share of Bit Digital common stock purchased from December 21, 2020
through January 11, 2021 and:

      (a) sold prior to 2:00 p.m. ET on January 11, 2021 (the date and time of the alleged
          corrective disclosure), the Recognized Loss Amount is zero;

      (b) sold from 2:00 p.m. ET on January 11, 2021 through April 9, 2021, the Recognized
          Loss Amount is the lesser of: (i) $6.27; or (ii) the purchase price per share less the
          average closing price between January 11, 2021 and the date of sale as stated in Table
          A below;

      (c) held at the close of trading on April 9, 2021, the Recognized Loss Amount is equal to
          the lesser of: (i) $6.27; or (ii) the purchase price per share less $17.63.2

                                 ADDITIONAL PROVISIONS

        7.       A Claimant’s “Recognized Claim” under the Plan of Allocation shall be the sum of
his, her or its Recognized Loss Amounts.

       8.     The Net Settlement Fund will be allocated among all Authorized Claimants whose
Distribution Amount (defined in ¶13 below) is $10.00 or greater.

        9.       If a Class Member has more than one purchase/acquisition or sale of Bit Digital
common stock during the Class Period, all purchases/acquisitions and sales shall be matched on a
First In, First Out (“FIFO”) basis. Class Period sales will be matched first against any holdings of
Bit Digital common stock at the beginning of the Class Period, and then against
purchases/acquisitions of Bit Digital common stock, in chronological order, beginning with the
earliest purchase/acquisition made during the Class Period.

       10.     Purchases/acquisitions and sales of Bit Digital common stock shall be deemed to
have occurred on the “contract” or “trade” date as opposed to the “settlement” or “payment” date.
The receipt or grant by gift, inheritance or operation of law of Bit Digital common stock during

2
  Pursuant to Section 21(D)(e)(1) of the Exchange Act, “in any private action arising under this
title in which the plaintiff seeks to establish damages by reference to the market price of a
security, the award of damages to the plaintiff shall not exceed the difference between the
purchase or sale price paid or received, as appropriate, by the plaintiff for the subject security
and the mean trading price of that security during the 90-day period beginning on the date on
which the information correcting the misstatement or omission that is the basis for the action is
disseminated to the market.” The average (mean) closing price of Bit Digital common stock
during the 90-day look-back period from January 11, 2021 through and including April 9, 2021
was $17.63.
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the Class Period, shall not be deemed a purchase, acquisition, or sale of the Bit Digital common
stock for the calculation of an Authorized Claimant’s Recognized Claim, nor shall the receipt or
grant be deemed an assignment of any claim relating to the purchase/acquisition of such Bit Digital
common stock unless (i) the donor or decedent purchased or otherwise acquired such Bit Digital
common stock during the Class Period; (ii) no Claim Form was submitted by or on behalf of the
donor, on behalf of the decedent, or by anyone else with respect to such Bit Digital common stock;
and (iii) it is specifically so provided in the instrument of gift or assignment.

        11.     The date of covering a “short sale” is deemed to be the date of purchase or
acquisition of the Bit Digital common stock. The date of a “short sale” is deemed to be the date of
sale of the Bit Digital common stock. In accordance with the Plan of Allocation, however, the
Recognized Loss Amount on “short sales” is zero. In the event that a Claimant has an opening
short position in Bit Digital common stock, the earliest purchases or acquisitions during the Class
Period shall be matched against such opening short position and not be entitled to a recovery until
that short position is fully covered.

        12.     Bit Digital publicly traded common stock is the only security eligible for recovery
under the Plan of Allocation. Option contracts are not securities eligible to participate in the
Settlement. With respect to Bit Digital common stock purchased or sold through the exercise of
an option, the purchase/sale date of the Bit Digital common stock is the exercise date of the option
and the purchase/sale price is the exercise price of the option.

        13.     The Net Settlement Fund will be distributed to Authorized Claimants on a pro rata
basis based on the relative size of their Recognized Claims. Specifically, a “Distribution Amount”
will be calculated for each Authorized Claimant, which will be the Authorized Claimant’s
Recognized Claim divided by the total Recognized Claims of all Authorized Claimants, multiplied
by the total amount in the Net Settlement Fund. If any Authorized Claimant’s Distribution Amount
calculates to less than $10.00, it will not be included in the calculation and no distribution will be
made to that Authorized Claimant.

        14.     After the initial distribution of the Net Settlement Fund, the Claims Administrator
will make reasonable and diligent efforts to have Authorized Claimants cash their distribution
checks. To the extent any monies remain in the Net Settlement Fund by reason of uncashed checks,
or otherwise, nine (9) months after the initial distribution, if Class Counsel, in consultation with
the Claims Administrator, determine that it is cost-effective to do so, the Claims Administrator
will conduct a re-distribution of the funds remaining after payment of any unpaid fees and expenses
incurred in administering the Settlement, including for such re-distribution, to Authorized
Claimants who have cashed their initial distributions and who would receive at least $10.00 from
such re-distribution. Additional re-distributions may occur thereafter if Class Counsel, in
consultation with the Claims Administrator, determine that additional re-distributions, after
deduction of any additional fees and expenses incurred in administering the Settlement, including
for such re-distributions, would be cost-effective. At such time as it is determined that the re-
distribution of funds remaining in the Net Settlement Fund is not cost-effective, the remaining
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balance shall be contributed to non-sectarian, not-for-profit organization(s), to be recommended
by Class Counsel and approved by the Court.

        15.    Payment pursuant to the Plan of Allocation, or such other plan of allocation as may
be approved by the Court, shall be conclusive against all Authorized Claimants. No person shall
have any claim against Lead Plaintiff, Lead Plaintiff’s Counsel, Lead Plaintiff’s damages expert,
Defendants, Defendants’ Counsel, any of the other Plaintiffs’ Releasees or Defendants’ Releasees,
or the Claims Administrator or other agent designated by Class Counsel arising from distributions
made substantially in accordance with the Stipulation, the Plan of Allocation approved by the
Court, or further orders of the Court. Lead Plaintiff, Defendants and their respective counsel, and
all other Defendants’ Releasees, shall have no responsibility or liability whatsoever for the
investment or distribution of the Settlement Fund or the Net Settlement Fund, the Plan of
Allocation, or the determination, administration, calculation, or payment of any Claim Form or
nonperformance of the Claims Administrator, the payment or withholding of taxes owed by the
Settlement Fund, or any losses incurred in connection therewith.

        16.    The Plan of Allocation set forth herein is the plan that is being proposed to the
Court for its approval by Lead Plaintiff after consultation with their damages expert. The Court
may approve this plan as proposed or it may modify the Plan of Allocation without further notice
to the Settlement Class. Any Orders regarding any modification of the Plan of Allocation will be
posted on the Settlement website, www.BitDigitalSettlement.com.

                                           TABLE A

              Bit Digital Common Stock Closing Price and Average Closing Price
                              January 11, 2021 – April 9, 2021


                                      Average                                       Average
                                      Closing                                       Closing
                                        Price                                         Price
                        Closing                                       Closing
          Sale Date                  Between            Sale Date                  Between
                         Price                                         Price
                                    January 11,                                   January 11,
                                     2021 and                                      2021 and
                                    Date Shown                                    Date Shown
          1/11/2021      $18.76        $18.76           2/25/2021      $15.39        $19.50
          1/12/2021      $19.65        $19.21           2/26/2021      $14.76        $19.35
          1/13/2021      $18.16        $18.86            3/1/2021      $16.55        $19.27
          1/14/2021      $18.12        $18.67            3/2/2021      $15.64        $19.17
          1/15/2021      $16.66        $18.27            3/3/2021      $15.50        $19.07
          1/19/2021      $16.46        $17.97            3/4/2021      $13.45        $18.91
          1/20/2021      $16.72        $17.79            3/5/2021      $13.26        $18.77
          1/21/2021      $16.36        $17.61            3/8/2021      $12.18        $18.60
          1/22/2021      $17.47        $17.60            3/9/2021      $15.90        $18.53
          1/25/2021      $16.37        $17.47           3/10/2021      $17.63        $18.51
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                                     Average                                       Average
                                     Closing                                       Closing
                                       Price                                         Price
                        Closing                                       Closing
          Sale Date                 Between            Sale Date                  Between
                         Price                                         Price
                                   January 11,                                   January 11,
                                    2021 and                                      2021 and
                                   Date Shown                                    Date Shown
          1/26/2021      $17.66       $17.49           3/11/2021      $18.30        $18.50
          1/27/2021      $16.11       $17.38           3/12/2021      $17.99        $18.49
          1/28/2021      $19.54       $17.54           3/15/2021      $18.94        $18.50
          1/29/2021      $19.42       $17.68           3/16/2021      $16.62        $18.46
           2/1/2021      $18.22       $17.71           3/17/2021      $17.83        $18.45
           2/2/2021      $18.54       $17.76           3/18/2021      $16.34        $18.40
           2/3/2021      $18.55       $17.81           3/19/2021      $16.94        $18.37
           2/4/2021      $18.99       $17.88           3/22/2021      $15.84        $18.32
           2/5/2021      $17.51       $17.86           3/23/2021      $14.78        $18.25
           2/8/2021      $25.60       $18.24           3/24/2021      $13.49        $18.15
           2/9/2021      $24.55       $18.54           3/25/2021      $13.91        $18.07
          2/10/2021      $22.05       $18.70           3/26/2021      $13.56        $17.99
          2/11/2021      $24.45       $18.95           3/29/2021      $12.94        $17.89
          2/12/2021      $24.30       $19.18           3/30/2021      $14.60        $17.83
          2/16/2021      $28.26       $19.54           3/31/2021      $15.02        $17.78
          2/17/2021      $26.66       $19.81            4/1/2021      $14.33        $17.72
          2/18/2021      $21.70       $19.88            4/5/2021      $16.75        $17.71
          2/19/2021      $21.06       $19.93            4/6/2021      $16.76        $17.69
          2/22/2021      $18.71       $19.88            4/7/2021      $15.42        $17.65
          2/23/2021      $15.34       $19.73            4/8/2021      $16.85        $17.64
          2/24/2021      $16.61       $19.63            4/9/2021      $16.96        $17.63



   What payment are the attorneys for the Class seeking? How will the lawyers be paid?

Lead Counsel has not received any payment for their services in pursuing claims against the
Defendants on behalf of the Class, nor has Lead Counsel been reimbursed for its out-of-pocket
expenses. Before final approval of the Settlement, Lead Counsel will apply to the Court for an
award of attorneys’ fees for in an amount not to exceed 25% of the Settlement Fund. At the same
time, Lead Counsel also intends to apply for reimbursement of Litigation Expenses in an amount
not to exceed $30,000, which may include an application for reimbursement of the reasonable
costs and expenses incurred by Lead Plaintiff directly related to his representation of the Class.
The Court will determine the amount of any award of attorneys’ fees or reimbursement of
Litigation Expenses. Such sums as may be approved by the Court will be paid from the Settlement
Fund. Class Members are not personally liable for any such fees or expenses.

       What if I do not want to be a member of the Class? How do I exclude myself?
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Each Class Member will be bound by all determinations and judgments in this lawsuit, whether
favorable or unfavorable, unless such person or entity mails or delivers a written Request for
Exclusion from the Settlement Class, addressed to Bit Digital, Inc. Securities Litigation,
EXCLUSIONS, c/o Kroll Settlement Administration, P.O. Box ___, ____________. The
exclusion request must be received no later than _____________, 2023. You will not be able to
exclude yourself from the Class after that date. Each Request for Exclusion must: (a) state the
name, address and telephone number of the Person requesting exclusion, and in the case of
entities the name and telephone number of the appropriate contact person; (b) state that such
Person “requests exclusion from the Settlement Class in In re Bit Digital Inc. Securities
Litigation Lead Case No. 1:21-cv-00515-ALC ”; (c) identify and state the number of shares of
Bit Digital common stock that the person or entity requesting exclusion purchased/acquired
and/or sold during the Class Period, as well as the dates and prices of each such
purchase/acquisition and sale; and (d) be signed by the person or entity requesting exclusion or
an authorized representative. A Request for Exclusion shall not be valid and effective unless it
provides all the information called for in this paragraph and is received within the time stated
above, or is otherwise accepted by the Court. You may not exclude yourself by telephone or by
email.

If you do not want to be part of the Class, you must follow these instructions for exclusion even if
you have pending, or later file, another lawsuit, arbitration, or other proceeding relating to any
Released Claim against any of the Released Defendant Parties.

If you ask to be excluded from the Class, you will not be eligible to receive any payment out of
the Net Settlement Fund.

  When and where will the Court decide whether to approve the Settlement? Do I have to
     come to the hearing? May I speak at the hearing if I don’t like the Settlement?

Class Members do not need to attend the Settlement Hearing. The Court will consider any
submission made in accordance with the provisions below even if a Class Member does not
attend the hearing. You can participate in the Settlement without attending the Settlement
Hearing.

The Settlement Hearing will be held on _________, 2023 at __:__ _.m., before the Honorable
Andrew L. Carter, Jr. at the United States District Court for the Southern District of New York, 40
Foley Square, New York, NY 10007. The Court reserves the right to approve the Settlement, the
Plan of Allocation, Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of
Litigation Expenses and/or any other matter related to the Settlement at or after the Settlement
Hearing without further notice to the members of the Class.

Any Class Member who or which does not request exclusion may object to the Settlement, the
proposed Plan of Allocation or Lead Counsel’s motion for an award of attorneys’ fees and
reimbursement of Litigation Expenses. Objections must be in writing. You must file any written
objection, together with copies of all other papers and briefs supporting the objection, with the
Clerk’s Office at the United States District Court for the Southern District of New York at the
address set forth below on or before _______, 2023. You must also serve the papers on Lead
Counsel and on Defendants’ Counsel at the addresses set forth below so that the papers are received
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on or before ___________, 2023.


        Clerk’s Office                     Lead Counsel                  Defendants’ Counsel

United States District Court      Block & Leviton LLP                 Kagen, Caspersen &
Southern District of New York     Jacob A. Walker                     Bogart PLLC
Clerk of the Court                260 Franklin Street, Suite 1860     Stuart Kagen
40 Foley Square                   Boston, MA 02110                    757 Third Avenue, 20th Fl
New York, NY 10007                                                    New York, NY 10017


Any objection: (a) must state the name, address and telephone number of the Person objecting and
must be signed by the objector; (b) must contain a statement of the Class Member’s objection or
objections, and the specific reasons for each objection, including any legal and evidentiary support
the Class Member wishes to bring to the Court’s attention; and (c) must include documents
sufficient to prove membership in the Class, including the number of shares of Bit Digital common
stock that the objecting Class Member purchased/acquired and/or sold during the Class Period, as
well as the dates and prices of each such purchase/acquisition and sale. You may not object to the
Settlement, the Plan of Allocation or Lead Counsel’s motion for attorneys’ fees and reimbursement
of Litigation Expenses if you exclude yourself from the Class or if you are not a member of the
Class.

You may file a written objection without having to appear at the Settlement Hearing. You may
not, however, appear at the Settlement Hearing to present your objection unless you first file and
serve a written objection in accordance with the procedures described above, unless the Court
orders otherwise.

If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the
Plan of Allocation or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement
of Litigation Expenses, and if you timely file and serve a written objection as described above, you
must also file a notice of appearance with the Clerk’s Office and serve it on Lead Counsel and
Defendants’ Counsel at the addresses set forth above so that it is received on or before
_____________, 2023. Persons who intend to object and desire to present evidence at the
Settlement Hearing must include in their written objection or notice of appearance the identity of
any witnesses they may call to testify and exhibits they intend to introduce into evidence at the
hearing. Such persons may be heard orally at the discretion of the Court.

You are not required to hire an attorney to represent you in making written objections or in
appearing at the Settlement Hearing. However, if you decide to hire an attorney, it will be at your
own expense, and that attorney must file a notice of appearance with the Court and serve it on
Lead Counsel and Defendants’ Counsel at the addresses set forth on page XX above so that the
notice is received on or before _____________, 2023.

The Settlement Hearing may be adjourned by the Court without further written notice to the Class.
If you intend to attend the Settlement Hearing, you should confirm the date and time with Lead
Counsel.
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Exhibit A-2

Unless the Court orders otherwise, any Class Member who does not object in the manner
described above will be deemed to have waived any objection and shall be forever foreclosed
from making any objection to the proposed Settlement, the proposed Plan of Allocation or
Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation
Expenses. Class Members do not need to appear at the Settlement Hearing or take any other
action to indicate their approval.

                    Special Notice to Banks, Brokers, and other Nominees

If you purchased or otherwise acquired any Bit Digital common stock between December 21, 2020
and January 11, 2021, inclusive, for the beneficial interest of persons or organizations other than
yourself, you must either: (a) within seven (7) calendar days of receipt of the Notice, request from
the Claims Administrator sufficient copies of the Postcard Notice to forward to all such beneficial
owners or request information sufficient to allow the postcard notice to be emailed, and within
seven (7) calendar days of receipt of those Postcard Notices (or the necessary information for
email) forward them to all such beneficial owners; or (b) within seven (7) calendar days of receipt
of the Postcard Notice, provide a list of the names, addresses, and, if available, email addresses of
all such beneficial owners to info@BitDigitalSettlement.com. If you choose the second option,
the Claims Administrator will send a copy of the Postcard Notice to the beneficial owners by
postcard or, if available, electronic means. Upon full compliance with these directions, such
nominees may seek reimbursement of their reasonable expenses actually incurred, up to a
maximum of $0.20 per notice, plus postage (if applicable), by providing the Claims Administrator
with proper documentation supporting the expenses for which reimbursement is sought. Any
dispute concerning the reasonableness of reimbursement costs shall be resolved by the Court.
Copies of this Long Form Notice, Postcard Notice, and the Claim Form may be obtained from the
website maintained by the Claims Administrator, www.BitDigitalSettlement.com.

              Can I see the court file? Whom should I contact if I have questions?

This Notice contains only a summary of the terms of the proposed Settlement. For more detailed
information about the matters involved in this Action, you are referred to the papers on file in the
Action, including the Stipulation, which may be inspected during regular hours at the Office of the
Clerk, United States District Court for the Southern District of New York, Clerk of the Court, 40
Foley Square, New York, NY 10007. Additionally, copies of the Stipulation and any related order
entered by the Court will be posted on the website maintained by the Claims Administrator,
www.BitDigitalSettlement.com.

All inquiries concerning this Notice and the Claim Form should be directed to the Claims
Administrator or Class Counsel at:

   Bit Digital, Inc. Securities Litigation     and/or             Block & Leviton LLP
   c/o Kroll Settlement Administration                        260 Franklin Street, Suite 1860
            P.O. Box ________                                       Boston, MA 02110
       _______________________                                 Telephone: (617) 398-5600
             800-___-_______                                               Email:
     www.BitDigitalSettlement.com                         BitDigitalSettlement@blockleviton.com
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Do not call or write the Court, the Office of the Clerk of the Court, Defendants or their
Counsel regarding this Notice.

[DATE]                     By Order of the Court

                           United States District Court, Southern District of New York
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Exhibit A-3

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 IN RE: BIT DIGITAL, INC. SECURITIES
 LITIGATION
                                                  Lead Case No. 1:21-cv-00515-ALC
       This document relates to:
                                                  CLASS ACTION
        All Actions



    SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED
    SETTLEMENT; (II) MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
             REIMBURSEMENT OF LITIGATION EXPENSES;
                     AND (III) SETTLEMENT HEARING

TO:    All Persons who purchased Bit Digital common stock between December 21, 2020 and
       January 11, 2021, inclusive (the “Class Period”)

PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS WILL BE AFFECTED
BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.

       YOU ARE HEREBY NOTIFIED, that the Court-appointed Lead Plaintiff, on behalf of
himself and the Class, has reached a proposed settlement of the above-captioned litigation (the
“Action”) for $2,100,000 in cash that, if approved, would resolve all claims in the Action (the
Settlement”). Defendants have denied the claims asserted against them and have agreed to the
Settlement solely to eliminate the burden and expense of continued litigation.

        YOU ARE HEREBY FURTHER NOTIFIED, that the Action has been preliminarily
certified as a class action, and that pursuant to an Order of the Honorable Andrew L. Carter in the
United States District Court for the Southern District of New York (the “Court”), dated ______,
2022, a hearing will be held on ________, 2023 at ____:____.m, (the “Settlement Hearing”) before
Judge Carter at the United States District Court for the Southern District of New York, 40 Foley
Square, New York, NY 10007, to determine: (a) whether the proposed Settlement on the terms
and conditions provided for in the Stipulation is fair, reasonable and adequate to the Class, and
should be approved by the Court; (b) whether a judgment should be entered dismissing the Action
with prejudice against the Defendants; (c) whether the Proposed Plan of Allocation should be
approved as fair and reasonable; and (d) whether Lead Counsel’s motion for attorneys’ fees and
reimbursement of litigation expenses should be approved.

        If you are a member of the Class, your rights will be affected by the pending Action and
the Settlement, and you may be entitled to share in the Settlement Fund. The Notice and Proof of
Claim and Release Form (“Claim Form”) can be downloaded from the website maintained by the
Claims Administrator, www.BitDigitalSettlement.com. You may also obtain copies of the Notice
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Exhibit A-3

and Claim Form by contacting the Claim Administrator at info@BitDigitalSettlement.com, or by
writing to Bit Digital Litigation Settlement, c/o Kroll Settlement Administration, [ADDRESS].

        If you are a member of the Class, in order to be eligible to receive a payment under the
proposed Settlement, you must submit a Claim Form postmarked (if mailed) or submitted (if filed
online) no later than ________, 2023. If you are a Class Member and do not submit a proper Claim
Form, you will not be eligible to share in the distribution of the net proceeds of the Settlement but
you will nevertheless be bound by any judgments or orders entered by the Court in the Action.

        If you are a member of the Class and wish to exclude yourself from the Class, you must
submit a request for exclusion such that it is received no later than ____ _, 2023, in accordance
with the instructions set forth in the Notice. If you properly exclude yourself from the Class, you
will not be bound by any judgments or orders entered by the Court in the Action and you will not
be eligible to share in the proceeds of the Settlement.

        Any objections to the proposed Settlement, the proposed Plan of Allocation, or Lead
Counsel’s motion for attorneys’ fees and reimbursement of litigation expenses, must be filed with
the Court and delivered to Lead Counsel and Defendants’ Counsel such that they are received no
later than ______, 2023, in accordance with the instructions set forth in the Notice.

       Please do not contact the Court, the Clerk’s office, Bit Digital or its counsel regarding
this notice. All questions about this notice, the proposed Settlement, or your eligibility to
participate in the Settlement should be directed to Lead Counsel or the Claims
Administrator.

      Inquiries, other than requests for the Notice and Claim Form, should be made to Lead
Counsel:
                                    Block & Leviton LLP
                                    Attn: Jacob A. Walker
                                260 Franklin Street, Suite 1860
                                      Boston, MA 02110
                                  Telephone: (617) 398-5600
                        Email: BitDigitalSettlement@blockleviton.com


      Requests for the Notice and                    Claim      Form     should    be    made     to
info@BitDigitalSettlement.com, or by mail to:

                               Bit Digital, Inc. Securities Litigation
                               c/o Kroll Settlement Administration
                                         P.O Box _______
                                          1-800-___-____
                                 www.BitDigitalSettlement.com

                                                                              By Order of the Court
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Exhibit A-4

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 IN RE: BIT DIGITAL, INC. SECURITIES
 LITIGATION
                                                   Lead Case No. 1:21-cv-00515-ALC
        This document relates to:
                                                   CLASS ACTION
         All Actions




                             PROOF OF CLAIM AND RELEASE

General Instructions

   •    This Proof of Claim and Release form (“Claim Form”) incorporates by reference the
        definitions in the Notice of Pendency of Class Action and Proposed Settlement; Motion for
        an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses; and Settlement
        Hearing (the “Notice”) and, unless defined herein, capitalized words and terms shall have
        the same meanings as they have in the Notice.

   •    To recover as a member of the Class based on your claims in the above-captioned Action,
        you must complete this Claim Form. If you fail to file a properly addressed (as set forth
        below) Claim Form, your claim may be rejected and you may be precluded from any
        recovery from the Settlement Fund created in connection with the proposed Settlement of
        the Action.

   •    Submission of this Claim Form, however, does not assure that you will share in the
        proceeds of the Settlement.

You must submit your completed and signed Claim Form by ___________, 2023, online at
www.BitDigitalSettlement.com or by mail addressed as follows:

                              Bit Digital, Inc. Securities Litigation

                                         P.O. Box ______
                                         ______________

   •    A Claim Form shall be deemed to have been submitted when postmarked, if mailed by
        first-class, or registered or certified mail, postage prepaid. All other Claim Forms shall be
        deemed to have been submitted at the time they are actually received by the Claims
        Administrator.


                                                           Questions? Call 1-800-_______ or visit
                                                                  www.BitDigitalSettlement.com
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   •     If you are NOT a member of the Class, as defined in the Notice, DO NOT submit a Claim
         Form.

   •     If you are a member of the Class, you are bound by the terms of the Stipulation and the
         Settlement, as well as any Order and Judgment entered in the Action whether or not you
         submit a Claim Form.

Claimant Identification

If you purchased or otherwise acquired Bit Digital, Inc. common stock between December 21,
2020 through January 11, 2021, inclusive, (the “Class Period), and held (or hold) the stock
certificate(s) in your name, you are the beneficial owner as well as the record owner. If, however,
the stock certificate(s) were or are registered in the name of a third party, such as a nominee or
brokerage firm, you are the beneficial owner and the third party is the record owner.

 Name of Beneficial Owner (Enter name exactly as you would like it to appear on a payment.)


 Owner’s Name


 Owner’s Name (continued)


 Owner’s Name (continued)


 Street Address:


 Street Address (continued):


 City:                               State:                         Zip Code:


 Foreign Province and Postal Code:                                  Country:


 E-mail Address:                               Telephone No.:


 Account Number / Fund Number (not necessary for individual filers):



Last 4 Digits of Social Security Number (SSN) or Employer Identification Number (EIN)



                                                          Questions? Call 1-800-_______ or visit
                                                                 www.BitDigitalSettlement.com
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This claim must be made by the actual beneficial owner or owners, or the legal
representative(s) of such owner or owners, of the Bit Digital common stock upon which this
claim is based.




All joint beneficial purchasers must sign this claim. Executors, administrators, guardians,
conservators, and trustees must complete and sign this claim on behalf of persons and/or entities
represented by them and their authority must accompany this claim and their titles or capacities
must be stated. The last four digits of the taxpayer identification number and telephone number
of the beneficial owner may be used in verifying the claim. Failure to provide the foregoing
information could delay verification of your claim or result in rejection of the claim.

Claim Form

   •    In the space provided on the following page, supply all required details of your
        transaction(s) in Bit Digital common stock. If you need more space, attach separate sheets
        giving all of the required information in substantially the same form. Sign and print or type
        your name on each additional sheet.

   •    Please provide all of the requested information with respect to all of your purchases,
        acquisitions, and sales of Bit Digital common stock which took place at any time during
        the Class Period, whether such transactions resulted in a profit or loss. Failure to report all
        such transactions may result in the rejection of your claim.

   •    List each transaction in the Class Period separately and in chronological order, by trade
        date, beginning with the earliest. You must accurately provide the month, day, and year of
        each transaction you list.

   •    You must submit documentation for your trading history. Acceptable documentation may
        include: (a) monthly stock brokerage or other investment account statements; (b) trade
        confirmation slips; (c) a signed letter from your broker on firm letterhead containing the
        transactional and holding information found in a broker confirmation slip or account
        statement; or (d) other equivalent proof of your transactions. Do not send originals. Broker
        confirmations or other documentation of your transactions in Bit Digital common stock
        should be attached to your claim. Failure to provide this documentation could delay
        verification or your claim or result in rejection of your claim.

   •    The requests are designed to provide the minimum amount of information necessary to
        process the simplest claims. The Claims Administrator may request additional information
        as required to efficiently and reliably calculate your losses. In cases where the Claims
        Administrator cannot perform the calculation accurately or at a reasonable cost to the Class
        with the information provided, the Claims Administrator may condition acceptance of the
        claim upon the production of additional information and/or the hiring of an accounting
        expert at claimant's cost.
                                                            Questions? Call 1-800-_______ or visit
                                                                   www.BitDigitalSettlement.com
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State the total amount of shares of Bit Digital common stock owned as of the opening of trading
on December 21, 2020. If none, write “zero” or “0.” ___________________

List each individual purchase or acquisition of Bit Digital common stock between and
including December 21, 2020 and January 11, 2021, as follows:

     Date(s) of Purchase      Number of Shares of    Purchase Price Per    Aggregate Cost (net
     (list chronologically)   Common Stock           Share of Common       of commissions,
     (Month/Day/Year)         Purchased/Acquired     Stock                 taxes, and fees)
                                                     $                     $
                                                     $                     $
                                                     $                     $
                                                     $                     $
                                                     $                     $

State the total amount of shares of Bit Digital common stock purchased/acquired (including free
receipts) between and including January 12, 2021 and April 9, 2021. If none, write “zero” or “0.”1
___________________

List each individual sale of Bit Digital common stock between and including December 21, 2020
and April 9, 2021, as follows:

     Date(s) of Sale (list    Number of Shares of    Sales Price Per       Amount Received
     chronologically)         Common Stock Sold      Share of Common       (net of
     (Month/Day/Year)                                Stock                 commissions, taxes,
                                                                           and fees)
                                                     $                     $
                                                     $                     $
                                                     $                     $
                                                     $                     $
                                                     $                     $




1
  Please note: Information requested with respect to your purchases/acquisitions of Bit Digital
common stock from January 12, 2021 through and including April 9, 2021 is needed in order to
perform the necessary calculations for your claim; purchases acquisitions during this period,
however, are not eligible transactions and will not be used for purposes of calculating Recognized
Loss Amounts pursuant to the Plan of Allocation.
                                                           Questions? Call 1-800-_______ or visit
                                                                    www.BitDigitalSettlement.com
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Exhibit A-4

At the close of trading on April 9, 2021, how many shares of Bit Digital common stock did you
hold?


                                     __________________ shares


Certification - Submission to Jurisdiction of Court, Acknowledgements and Releases

Please review the following submission to jurisdiction and sign below on page 6.

        I (we) submit this Proof of Claim and Release under the terms of the Stipulation and
Agreement of Settlement dated as of October 12, 2022 (“Stipulation”), and in connection with the
settlement (the “Settlement”) of claims against the Defendants contemplated therein. I (we) also
submit to the jurisdiction of the United States District Court for the Southern District of New York,
with respect to my (our) claim as a Class Member and for purposes of enforcing the release set
forth herein. I (we) further acknowledge that I am (we are) bound by and subject to the terms of
any Order and Judgment (defined below) that may be entered in the Action. I (we) agree to furnish
additional information to Lead Counsel and/or the Claims Administrator to support this claim if
required to do so. I (we) have not submitted any other claim covering the same purchases,
acquisitions, and sales of Bit Digital common stock during the Class Period and know of no other
person or entity having done so on my (our) behalf.

Please review the following release for claims against Defendants and sign below on page 6.

       I (We) hereby acknowledge full and complete satisfaction of, and do hereby fully, finally
and forever waive, compromise, settle, release, resolve, relinquish, discharge and dismiss all of the
Released Claims against each and all of the Defendants and Released Defendant Parties as
contemplated in the Stipulation.

        The Stipulation contemplates the issuance of a judgment (the “Judgment”), which will
dismiss with prejudice the claims against Defendants and will provide that, upon the Effective
Date of the Settlement, Lead Plaintiff and each of the other Class Members, and Released Plaintiff
Parties, shall be deemed to have, and by operation of law and of the Judgment shall have, fully,
finally and forever compromised, settled, released, resolved, relinquished, waived and discharged
each and every Released Claim against the Defendants and the other Released Defendant Parties,
and shall forever be barred and enjoined from prosecuting any or all of the Released Claims against
any of the Released Defendant Parties.

        Unknown Claims are expressly included in the definition of Released Claims, and such
inclusion was expressly bargained for and was a material element of the Settlement and was relied
upon by each and all of the Defendants in entering into the Stipulation. “Unknown Claims” means
Released Claims or Released Defendant Claims that Defendants, Lead Plaintiff, or any other Class
Member does not know or suspect to exist in such party’s favor at the time of the release, which,
if known by such party, might have affected such party’s decision to settle or release claims. Upon
the Effective Date of the Settlement, Defendants, Lead Plaintiff and the Class shall expressly


                                                           Questions? Call 1-800-_______ or visit
                                                                  www.BitDigitalSettlement.com
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waive, and be deemed to have waived, to the fullest extent permitted by law, the provisions, rights,
and benefits of California Civil Code § 1542, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASE PARTY.

        Lead Plaintiff and Defendants acknowledge, and each of the other Class Members and each
of the other Released Defendant Parties shall be deemed by operation of law to have
acknowledged, that the foregoing waiver was separately bargained for and a key element of the
Settlement. This release shall be of no force or effect unless and until the Court approves the
Stipulation and the Settlement becomes effective on the Effective Date.
Please review the following representations and sign below on page 6.

        I (We) hereby warrant and represent that I (we) have not assigned or transferred or
purported to assign or transfer, voluntarily or involuntarily, any matter released pursuant to this
release or any other part or portion thereof.

        I (We) hereby warrant and represent that I (we) have included information about all of my
(our) purchases or acquisitions of Bit Digital common stock that occurred during the Class Period,
all of my (our) sales of Bit Digital common stock between and including December 21, 2020 and
April 12, 2021, and the number of shares of Bit Digital common stock held by me (us) at the close
of trading on April 12, 2021.

       I (We) hereby warrant and represent that I am (we are) not excluded from the Class as
defined in the Notice.

        I (We) declare under the penalty of perjury under the laws of the United States of America
that the foregoing information supplied by the undersigned is true and correct.




                                                          Questions? Call 1-800-_______ or visit
                                                                 www.BitDigitalSettlement.com
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 Executed this ________ of ____________             Executed this ________ of ____________
 in ___________, __________________.                in _____________,___________________.

 _____________________________                      ______________________________
 (Signature of Claimant)                            (Signature of Claimant)

 _____________________________                      ______________________________
 (Type or print name of Claimant)                   (Type or print name of Claimant)

 _____________________________                      ______________________________
 (Capacity of person signing above, e.g.,           (Capacity of person signing above, e.g.,
 Beneficial Purchaser(s), Administrator,            Beneficial Purchaser(s), Administrator,
 Executor, Trustee, Custodian, Power of             Executor, Trustee, Custodian, Power of
 Attorney, etc.)                                    Attorney, etc.)

 Proof of Authority to File Enclosed?               Proof of Authority to File Enclosed?
 _____ Yes      _____ No                            _____ Yes      _____ No
 (See Section __)                                   (See Section __)

                Accurate claims processing takes a significant amount of time.
                                Thank you for your patience.

Reminder Checklist:

    1. Please sign the Certification section of the Proof of Claim and Release on Page 6.

    2. If this claim is being made on behalf of joint beneficial claimants, both must sign.

    3. Remember to attach supporting documentation.

    4. Do not send original stock certificates.

    5. Do not highlight any portion of the Claim Form or any supporting documents.

    6. Keep a copy of your Proof of Claim and Release form and all documents submitted for
       your records.

    7. The Claims Administrator will acknowledge receipt of your Proof of Claim and Release
       form by mail within 60 days. Your claim is not deemed submitted until you receive an
       acknowledgement postcard. If you do not receive an acknowledgement postcard within
       60 days, please call the Claims Administrator toll-free at (___) ___-____.

    8. If you move, please send the Claims Administrator your new address.


              THESE FORMS AND YOUR SUPPORTING DOCUMENTATION
               MUST BE SUBMITTED NO LATER THAN __________, 2023.


                                                         Questions? Call 1-800-_______ or visit
                                                                www.BitDigitalSettlement.com
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                                                                        EXHIBIT B
                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


IN RE: BIT DIGITAL, INC. SECURITIES
                                          Lead Case No. 1:21-cv-00515-ALC
LITIGATION
                                          CLASS ACTION
     This document relates to:
                                          [PROPOSED] JUDGMENT APPROVING
     All Actions
                                          CLASS ACTION SETTLEMENT
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        WHEREAS, a class action is pending in this Court entitled In re: Bit Digital, Inc. Securities
Litigation, No. 1:21-cv-00515-ALC (the “Action”);
        WHEREAS, (a) Lead Plaintiff Joseph Franklin Monkam Nitcheu (“Lead Plaintiff”), on
behalf of himself and the Class (defined below) and (b) Defendants Bit Digital, Inc. and Erke
Huang (the “Defendants”) (collectively with Lead Plaintiff, the “Settling Parties”) have
determined to settle all claims asserted against Defendants in this Action with prejudice on the
terms and conditions set forth in the Stipulation and Agreement of Class Action Settlement dated
October 12, 2022 (the “Stipulation”) subject to approval of this Court (the “Settlement”);
        WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall
have the same meaning as they have in the Stipulation;
        WHEREAS, by Order dated _________ __, 2022 (the “Preliminary Approval Order”), this
Court: (a) preliminarily approved the Settlement; (b) certified the Class solely for the purpose of
effectuating the Settlement, finding the prerequisites for class action certification under Rule 23 of
the Federal Rules of Civil Procedure with respect to the Settlement Class were satisfied; (c) ordered
that notice of the proposed Settlement be provided to potential Class Members; (d) provided Class
Members with the opportunity either to exclude themselves from the Class or to object to the
proposed Settlement; and (e) scheduled a hearing regarding final approval of the Settlement;
        WHEREAS, due and adequate notice has been given to the Class;
        WHEREAS, the Court conducted a hearing on _________ __, 2022 (the “Settlement
Hearing”) to consider, among other things, (a) whether the terms and conditions of the Settlement
are fair, reasonable and adequate to the Class, and should therefore be approved; and (b) whether
a judgment should be entered dismissing the Action with prejudice as against the Defendants; and
        WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and
proceedings held herein in connection with the Settlement, all oral and written comments received
regarding the Settlement, and the record in the Action, and good cause appearing therefor;
        IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
        1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action, and
all matters relating to the Settlement, as well as personal jurisdiction over all of the Settling Parties


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and each of the Class Members.
        2.      Incorporation of Settlement Documents – This Judgment incorporates and makes
a part hereof: (a) the Stipulation filed with the Court on _____________, 2021; and (b) the
Postcard Notice, the Notice, the Summary Notice, and the Proof of Claim form, all of which were
filed with the Court on _____________, 2022.
        3.      Certification of the Class for Purposes of Settlement – Pursuant to Rule 23 of
the Federal Rules of Civil Procedure, this Court certifies, solely for purposes of effectuating the
Settlement, this Action as a class action on behalf of the Class defined as: all Persons who
purchased Bit Digital common stock between December 21, 2020 and January 11, 2021, inclusive
(the “Class Period”). Excluded from the Class are Defendants and their families, the officers,
directors, and affiliates, and their legal representatives, heirs, successors or assigns, and any entity
in which Defendants have or had a controlling interest. Also excluded from the Class are the
Persons who timely and validly submitted a request for exclusion from the Class that was accepted
by the Court; such Persons are listed on the attached Exhibit A.
        4.      Lead Plaintiff is hereby appointed, for purposes of effectuating the Settlement only,
as representative for the Class for purposes of Federal Rule of Civil Procedure 23. Block & Leviton
LLP, who was appointed by the Court to serve as Lead Counsel, is hereby appointed, for settlement
purposes only, as counsel for the Class pursuant to Rules 23(c)(1)(B) and (g) of the Federal Rules
of Civil Procedure.
        5.      Notice – The Court finds that the dissemination of the Notice, the online posting of
the Notice, and the publication of the Summary Notice: (a) were implemented in accordance with
the Preliminary Approval Order; (b) constituted the best notice practicable under the
circumstances; (c) constituted notice that was reasonably calculated, under the circumstances, to
apprise Class Members of (i) the pendency of the Action; (ii) the effect of the proposed Settlement
(including the Releases to be provided thereunder); (iii) Lead Counsel’s motion for an award of
attorneys’ fees and reimbursement of Litigation Expenses; (iv) their right to object to any aspect
of the Settlement, the Plan of Allocation and/or Lead Counsel’s motion for attorneys’ fees and
reimbursement of Litigation Expenses; (v) their right to exclude themselves from the Class; and


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(vi) their right to appear at the Settlement Hearing; (d) constituted due, adequate, and sufficient
notice to all Persons entitled to receive notice of the proposed Settlement; and (e) satisfied the
requirements of Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution
(including the Due Process Clause), the Private Securities Litigation Reform Act of 1995, 15
U.S.C. § 77z-1(a)(7), as amended, and all other applicable law and rules.
       6.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in
accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby fully and
finally approves the Settlement set forth in the Stipulation in all respects (including, without
limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with
prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,
in all respects, fair, reasonable and adequate to the Class. The Settling Parties are directed to
implement, perform and consummate the Settlement in accordance with the terms and provisions
contained in the Stipulation.
       7.      The Action and all of the claims asserted against Defendants in the Action by Lead
Plaintiff and the other Class Members are hereby dismissed with prejudice. The Settling Parties
shall bear their own costs and expenses, except as otherwise expressly provided in the Stipulation.
       8.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever
binding on Defendants, Lead Plaintiff and all other Class Members (regardless of whether or not
any individual Class Member submits a Claim Form or seeks or obtains a distribution from the
Net Settlement Fund), as well as their respective successors and assigns.
       9.      Releases – The Releases set forth in paragraph 5 of the Stipulation, together with
the definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly
incorporated herein in all respects.     The Releases are effective as of the Effective Date.
Accordingly, this Court orders that:
               (a)     Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date, Lead Plaintiff and each of the Class Members shall be deemed to have, and by
operation of the Judgment shall have, fully, finally, and forever released, relinquished, and
discharged against the Released Defendant Parties (whether or not such Class Member executes


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and delivers a Proof of Claim and Release form) any and all Released Claims (including, without
limitation, Unknown Claims). The Settling Parties acknowledge, and the Class Members shall be
deemed by operation of law to acknowledge, that the waiver of Unknown Claims, and of the
provisions, rights and benefits of § 1542 of the California Civil Code, was bargained for and is a
key element of the Settlement of which the release in this paragraph is a part. Upon the Effective
Date, Lead Plaintiff and each of the Class Members and anyone claiming through or on behalf of
them, shall be permanently barred and enjoined from the commencement, assertion, institution,
maintenance, prosecution, or enforcement against any Released Defendant Parties of any action or
other proceeding in any court of law or equity, arbitration tribunal, administrative forum, or forum
of any kind, asserting any of the Released Claims.
                 (b)    Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date, Defendants will release as against Released Plaintiff Parties, all claims and
causes of action of every nature and description, whether known or Unknown Claims, whether
arising under federal, state, local, common, statutory, administrative, or foreign law, or any other
law, rule, or regulation, at law or in equity, whether fixed or contingent, whether foreseen or
unforeseen, whether accrued or unaccrued, whether liquidated or unliquidated, whether matured
or unmatured, whether direct, representative, class, or individual in nature that arise out of or relate
in any way to the institution, prosecution, or settlement of the claims against Defendants.
        10.      Notwithstanding paragraphs 9(a) – (b) above, nothing in this Judgment shall bar
any action by any of the Settling Parties to enforce or effectuate the terms of the Stipulation or this
Judgment.
        11.      Rule 11 Findings – The Court finds and concludes that the Parties and their
respective counsel have complied in all respects with the requirements of Rule 11 of the Federal
Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement
of the Action.
        12.      No Admissions – Neither this Judgment, the Stipulation (whether or not
consummated), including the exhibits thereto and the Plan of Allocation contained therein (or any
other plan of allocation that may be approved by the Court), the negotiations leading to the


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execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in
connection with the Term Sheet, the Stipulation and/or approval of the Settlement (including any
arguments proffered in connection therewith):

                (a)     shall be offered against any of the Released Defendant Parties as evidence
of, or construed as, or deemed to be evidence of any presumption, concession, or admission by
any of the Released Defendant Parties with respect to the truth of any fact alleged by Lead Plaintiff
or the validity of any claim that was or could have been asserted or the deficiency of any defense
that has been or could have been asserted in this Action or in any other litigation, or of any liability,
negligence, fault, or other wrongdoing of any kind of any of the Released Defendant Parties or in
any way referred to for any other reason as against any of the Released Defendant Parties, in any
civil, criminal or administrative action or proceeding, other than such proceedings as may be
necessary to effectuate the provisions of the Stipulation;

                (b)     shall be offered against any of the Released Plaintiff Parties, as evidence of,
or construed as, or deemed to be evidence of any presumption, concession or admission by any of
the Released Plaintiff Parties that any of their claims are without merit, that any of the Released
Defendants Parties had meritorious defenses, or that damages recoverable under the Complaint
would not have exceeded the Settlement Amount or with respect to any liability, negligence, fault
or wrongdoing of any kind, or in any way referred to for any other reason as against any of the
Released Plaintiff Parties, in any civil, criminal or administrative action or proceeding, other than
such proceedings as may be necessary to effectuate the provisions of the Stipulation; or

                (c)     shall be construed against any of the Released Plaintiff Parties or Released
Defendant Parties as an admission, concession, or presumption that the consideration to be given
under the Settlement represents the amount which could be or would have been recovered after
trial; provided, however, that the Settling Parties and the Released Plaintiff Parties and Released
Defendant Parties and their respective counsel may refer to this Judgment and the Stipulation to
effectuate the protections from liability granted hereunder and thereunder or otherwise to enforce
the terms of the Settlement.



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       13.     Retention of Jurisdiction – Without affecting the finality of this Judgment in any
way, this Court retains continuing and exclusive jurisdiction over: (a) the Settling Parties for
purposes of the administration, interpretation, implementation and enforcement of the Settlement;
(b) the disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or
Litigation Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d)
any motion to approve the Plan of Allocation; (e) any motion to approve the Class Distribution
Order; and (f) the Class Members for all matters relating to the Action.
       14.     Separate orders shall be entered regarding approval of a plan of allocation and the
motion of Lead Counsel for an award of attorneys’ fees and reimbursement of Litigation Expenses.
Such orders shall in no way affect or delay the finality of this Judgment and shall not affect or
delay the Effective Date of the Settlement.
       15.     Modification of the Agreement of Settlement – Without further approval from
the Court, Lead Plaintiff and Defendants are hereby authorized to agree to and adopt such
amendments or modifications of the Stipulation or any exhibits attached thereto to effectuate the
Settlement that: (a) are not materially inconsistent with this Judgment; and (b) do not materially
limit the rights of Class Members in connection with the Settlement. Without further order of the
Court, Lead Plaintiff and Defendants may agree to reasonable extensions of time to carry out any
provisions of the Settlement.
       16.     Termination of Settlement – If the Settlement is terminated as provided in the
Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be
vacated, rendered null and void and be of no further force and effect, except as otherwise provided
by the Stipulation, and this Judgment shall be without prejudice to the rights of Lead Plaintiff, the
other Class Members and Defendants, and the Settling Parties shall revert to their respective
positions in the Action as of August 12, 2022, as provided in the Stipulation.
       17.     Entry of Final Judgment – There is no just reason to delay the entry of this
Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly
directed to immediately enter this final judgment in this Action.




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SO ORDERED this _________ day of __________________, 2022.


                                      ________________________________________
                                           The Honorable Andrew L. Carter, Jr.
                                               United States District Judge




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